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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

CORRIE LEA M. FEY,                          §
KELVIN H. KRAMM, and                        §
MICHAEL C. KRAMM,                           §
                                            §
              Plaintiffs,                   §
                                            §        CIVIL ACTION NO. 5:21-cv-01090
v.                                          §
                                            §
THE CITY OF NEW BRAUNFELS,                  §
TEXAS,                                      §
                                            §
              Defendant.                    §

                        NOTICE OF REMOVAL OF DEFENDANT

TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

       NOW COMES Defendant, the City of New Braunfels, Texas (the City) and files this notice

of removal. As grounds for removal, the City states the following:

                                                1.

                               STATE COURT LITIGATION

       1.01. The City is the sole defendant in a case styled Corrie Lea M. Fey, Kelvin H. Kramm,

and Michael C. Kramm v. The City of New Braunfels, Texas, which bears Cause No. C2021-

1371A, and is pending in the 22nd Judicial District of Comal County, Texas (the state court

litigation) located at 150 North Seguin Avenue, Suite 3086, New Braunfels, Texas, 78130, before

the Honorable Bruce Boyer.




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                                                  2.

                                         ATTACHMENTS

        2.01. A true and correct copy of: (1) all pleadings that assert causes of action; (2) all

answers to such pleadings; (3) all process served on Defendant; and (4) all orders served on

Defendant are being filed with this notice as required by Title 28, U.S.C., Section 1446(a), are

attached to this notice.

                                                  3.

                                 TIMELINESS OF REMOVAL

        3.01. The state court litigation commenced on August 25, 2021, with the filing of

Plaintiffs’ Original Petition, which includes, as set forth below, claims under federal law. The City

was not served with the petition and citation until October 7, 2021. Thus, this notice of removal

is timely filed under section 1446(b) within thirty (30) days of receipt and service of the initial

pleading setting forth the claims for relief over which this Court has jurisdiction. See Murphy

Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344, 348, 119 S. Ct. 1322, 1325-26 (1999).

                                                  4.

                                  GROUNDS FOR REMOVAL

        4.01.     Within the meaning of Title 28, U.S.C., Section 1446(b), Plaintiffs’ Original

Petition, which is attached, raises claims from which the City was first able to ascertain that this

case is one which is removable. Specifically, Plaintiffs have asserted, expressly in paragraphs 24,

29, 40, and the prayer of Plaintiffs’ Original Petition, causes of action for violations of Plaintiff=s

Fifth and Fourteenth Amendment Rights to the United States Constitution. See Pl.s’ Orig. Pet. at

6, 8, 10, 12. Plaintiffs allege violations of the Takings Clause of the Fifth Amendment to the U.S.

Constitution applicable to the City through the Fourteenth Amendment. Specifically, Plaintiffs

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allege an exactions-type takings claim under

       4.02.     Under federal law, federal courts have original jurisdiction over all civil actions

“arising under the Constitution, laws or treaties of the United States.” 28 U.S.C. §§ 1331, 1441(b).

The Plaintiffs’ petition thus includes claims over which this Court has original jurisdiction

pursuant to Title 28, U.S.C., Section 1331, and may be removed to this Court by the City under to

Title 28, U.S.C., Section 1441(b).

                                                  5.

                                               VENUE

       5.01. Venue of the state court litigation lies in Comal County, Texas. Therefore, this action

must be removed to this Court as the district and division embracing the place where the state

action is pending, pursuant to 42 U.S.C. ' 1446(a). 28 U.S.C. ' 124(d)(4).

                                                   6.

                         NOTICE TO PARTIES AND STATE COURT

       6.01. Upon the filing of this Notice with the Federal District Court, the City will give

notice of this filing to Plaintiffs, and will also file a copy of this Notice with the Clerk of the 22nd

District Court of the State of Texas, Comal County, where the action is currently pending pursuant

to Title 28, U.S.C., Section 1446(d).

       WHEREFORE, the City prays that the above-entitled action be removed from the 22nd

District Court of Comal County, Texas, to this Honorable Court.




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                                    Respectfully submitted,

                                    William M. “Mick” McKamie
                                    mmckamie@toase.com
                                    Texas Bar No. 136868001

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                                    Phone: 210-510-4146
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                                    Taylor, Olson, Adkins, Sralla, & Elam, L.L.P.
                                    6000 Western Place, Suite 200
                                    Fort Worth, Texas 76107
                                    Tel: (817) 332-2580
                                    Fax: (817) 332-4740

                                    ATTORNEYS FOR DEFENDANT,
                                    THE CITY OF NEW BRAUNFELS, TEXAS




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                                CERTIFICATE OF SERVICE

        On November 5, 2021, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Western District of Texas, using the electronic case files system
of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).

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email: zach@bhlawgroup.com
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email: laura@bhlawgroup.com
Brady & Hamilton Womack McClish
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Austin, Texas 78705


                                                     _____________
                                              Fredrick “Fritz” Quast




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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                          SAN ANTONIO DIVISION

CORRIE LEA M. FEY,         §
KELVIN H. KRAMM, and       §
MICHAEL C. KRAMM,          §
                           §
       Plaintiffs,         §
                           §                   CIVIL ACTION NO. ________________
v.                         §
                           §
THE CITY OF NEW BRAUNFELS, §
TEXAS,                     §
                           §
       Defendant.          §


             APPENDIX TO DEFENDANT’S NOTICE OF REMOVAL

Date         Description                                                        Ex

08/25/2021   Plaintiffs’ Original Petition [Cause No. C2021-1371A]              A
10/07/2021   Citation served on Defendant City of New Braunfels, Texas          B
10/14/2021   File Stamped Return of Service by Certified Mail, Return Receipt   C
             Requested
11/01/2021   Defendant’s Original Answer                                        D




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     EXHIBIT “A”
               Case 5:21-cv-01090 Document 1 Filed 11/08/21 Page 8 of 68
                                                                              FILED
                                                                              C2021-1371A
                                                                              8/25/2021 12:44 PM
                                                                              Heather N. Kellar
                                                                              Comal County
                                                  C2021-1371A                 District Clerk
                                       CAUSE NO. _ __
                                                                              Accepted By:
                                                                              Shawna Frakes
  CORRIE LEA M. FEY, KELVIN H.                     §      IN THE          DISTRICT COURT
  KRAMM, AND MICHAEL C.                            §
  KRAMM                                            .§
             PLAINTIFFS,                           §
                                                   §
  v.                                               §      OF
                                                   §
  THE CIJ'Y OF NEW BRAUNFELS,                      §
  TEXAS,                                           §
              DEFENDANT.                           §      COMAL COUNTY, TEXAS


                                PLAINTIFFS' ORIGINAL PETITION

TO THE HONORABLE TIJDGE OF SAID COURT:

        COMES NOW, Corrie Lea M. Fey, Kelvin H. Kramm, and Michael C. Kramm

(collectively refened to as "Plaintiffs") and file this Plaintiffs' Original Petition, complaining of

the City of New Braunfels (the "City") in Comal County, Texas, and in support hereof would

respectfully show unto the Court the following:

                           I.     DISCOVERY CONTROL PLAN AND
                                       RULE 47 STATEMENT

        1.       Plaintiffs intend that discovery be conducted under Level3 pursuant to Rule 190.4

of the Texas Rules of Civil Procedure. Per Texas Rule of Civil Procedure 47, and subject to

changes in circumstances, Plaintiffs seek non-monetaty relief including declaratory relief, as well

as monetmy relief over $1,000,000.

                                          II.    PARTIES

        2.       The Plaintiffs are siblings who inherited from their parents a 25.641-acre tract of

land located at 1890 F.M. 1044, New Braunfels, Comal County, Texas (the "Propetty"). The

Plaintiffs may be served with pleadings and process by service on undersigned counsel. The

Plaintiffs' addresses are set out as follows:


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                                                        Exhibit A
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          Corrie Lea M. Fey
          2681 CR 420
          Stockdale, TX 78160

          Kelvin H. Kramm
          272 Kove Lane
          Cibolo, TX 78108

          Michael C. Kramm
          P.O. Box 785
          Marble Falls, TX 78654

          3.       The Defendant is the City of New Braunfels, Texas, an incorporated, home rule

municipality and political subdivision of the State of Texas, which has its business office in Comal

County. Pursuant to Section 17.024(b) of the TEXAS CIVIL PRACTICE AND REMEDIES CODE, the

City may be served with process in this case by delivering a copy of this petition to the Mayor of

the City of New Braunfels, Rusty Brockman, at 550 Landa Street, New Braunfels, Texas 78130.

          4.       The City is not immune from suit or liability as detailed below.

                                 III.    JURISDICTION AND VENUE

          5.       The Court has personal jurisdiction over the Defendant, a home rule municipality

and political subdivision of the State of Texas, which has its business office in Comal County.

          6.       This Court has subject matter jurisdiction because the amount in controversy is in

excess of the minimum jurisdictional limits of this Court and because the Court has been granted

jurisdiction under several different statutory provisions. A person whose rights, status, or other

legal relations are affected by a municipal ordinance can petition and request the court determine

questions of construction or validity pertaining to or arising under such under the UNIFORM

DECLARATORY JUDGMENT ACT 1. Also, a developer may appeal a City’s decision regarding the

apportionment of municipal costs to a district court pursuant to TEXAS LOCAL GOVERNMENT CODE



1
    TEX. CIV. PRAC. & REM. CODE, Chapter 37.

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§ 212.904(c). District courts have subject matter jurisdiction over claims brought under the TEXAS

PRIVATE REAL PROPERTY RIGHTS PRESERVATION ACT 2 (the “PRPA”). 3

         7.       Venue is proper in Comal County, Texas, pursuant to TEXAS CIVIL PRACTICE AND

REMEDIES CODE § 15.002(a)(1), because all or a substantial part of the events or omissions giving

rise to the claims asserted herein occurred in Comal County, and TEXAS CIVIL PRACTICE                             AND

REMEDIES CODE § 15.002(a)(2), because Comal County is the county of Defendant’s residence or

principal place of business at the time the cause of action accrued.

         8.       Immunity has been waived under the UNIFORM DECLARATORY JUDGMENT ACT 4,

the TEXAS CONSTITUTION, Article 1, Sections 17 and 19, and the PRPA 5.

                                      IV.      BACKGROUND FACTS

         9.       In the late summer of 2018, the Plaintiffs decided to put the Property on the market

for sale.

         10.       On September 15, 2018, ECS Development, LLC (the “Buyer”) placed the

Property under contract for $1,000,000.00, subject to a feasibility review. A true and correct copy

of this contract is attached as Exhibit A.

         11.      The Buyer obtained a preliminary development plan for the Property which was

submitted to the City for review. At the pre-development meeting with the City, the Buyer learned

that any development of the Property would require compliance with the 2012 Regional

Transportation Plan 6 (the “Transportation Plan”) adopted by the City on or about March 12, 2012.



2
  See generally, TEX. GOV’T CODE, Chapter 2007.
3
  TEX. GOV’T CODE § 2007.021 (2021); the [Private Real Property Rights Preservation] Act unquestionably vests
district courts with subject matter jurisdiction to hear claims brought under the statute. City of Houston v. Guthrie,
332 S.W.3d 578 (Tex. App.—Houston [1st Dist.] 2009).
4
  TEX. CIV. PRAC. & REM. CODE § 37.002(b).
5
  TEX. GOV’T CODE § 2007.003(a).
6
  See REGIONAL TRANSPORTATION, City of New Braunfels, https://www.nbtexas.org/1248/Regional-Transportation
(last visited August 25, 2021).

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       12.     Compliance with this plan would require dedication of almost six acres of right of

way to the City and require that the developers spend a substantial sum of money to build a

significant part of the thoroughfare proposed. The Buyer also learned that because of the location

of the thoroughfare required by the City, the Property would be severed into three segments and

that a significant portion of its development potential would be lost. A copy of the proposed

development plan with the proposed thoroughfare superimposed is attached as Exhibit B.

       13.     After this pre-development meeting with the city and upon learning of these strict

municipal infrastructure costs and development conditions, the Buyer immediately terminated the

contract with the Plaintiffs.

       14.     On January 17, 2019, the Plaintiffs and their counsel met with the City to initiate a

request for an amendment to the Transportation Plan which would reduce or eliminate the burden

placed on the Property by the City’s ordinance. At the close of the meeting, the City indicated it

was unwilling to remove the Property from the Transportation Plan or to waive the requirements

of dedication of right-of-way and cash participation in the cost of building the roadways on the

Property.

       15.     After completing the informal process, Plaintiffs filed a formal application to

remove the Property from the Transportation Plan. City staff then notified Plaintiffs that their

formal application to exempt the Property from its inclusion in the Transportation Plan would be

considered by City Council. A copy of this notification is attached as Exhibit C.

       16.     Concurrently with the exemption request, the apportionment of municipal

infrastructure costs for the development of the Property were discussed with the City. To obtain

permits to develop the Property for any use, City ordinances require the Plaintiffs to give the City

almost one-fourth of the Property as right-of-way. Plaintiffs must also pay significant amounts of



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money to build a portion of a minor arterial roadway through the Property in a location decided by

the City several years ago. The Plaintiffs subsequently obtained the engineering information

necessary to submit a formal request that the Property be exempted from the Transportation Plan.

Plaintiffs also demanded a finding of rough proportionality as authorized by TEXAS LOCAL

GOVERNMENT CODE § 212.904.

       17.     The City Planning Commission and the City Engineer determined that the exactions

involved were, in fact, “roughly proportional” to the increased demand on public services caused

by the Plaintiffs’ proposed development. The City’s engineering report supporting its

determination of rough proportionality is attached as Exhibit D.

       18.     Both the exemption and the Plaintiffs’ appeal were considered by the City Council

of the City of New Braunfels (the “City Council”) on June 28, 2021. A copy of this agenda is

attached as Exhibit E. The City Council denied the Plaintiffs’ request to exempt the Property from

the Transportation Plan and approved the City’s engineering report supporting the determination

of rough proportionality.

       19.     At a later meeting, the City Council considered Plaintiffs’ appeal on the

apportionment of the municipal infrastructure costs for the development of the Property. The City

Council denied the Plaintiffs’ appeal on the apportionment of July 26, 2021. A copy of the minutes

from this meeting is attached as Exhibit F.

       20.     As required by TEXAS LOCAL GOVERNMENT CODE § 212.904(c), this lawsuit is filed

within thirty (30) days after the final decision of the City Council.

                   V.       UNIFORM DECLARATORY JUDGMENT ACT

       21.     Plaintiffs incorporate paragraphs 1 through 20 as if fully set out herein.




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          22.       The UNIFORM DECLARATORY JUDGMENT ACT (the “Act”) is remedial in nature and

was implemented to provide courts with broad discretion and authority to make determinations, so

as to “settle and to afford relief from uncertainty and insecurity with respect to rights, status, and

other legal relations; and it is to be liberally construed and administered.” TEX. CIV. PRAC. & REM.

CODE § 37.002(b); see also Id. at § 37.003(a).

          23.       When such uncertainties arise with respect to a municipal ordinance, a person

whose rights, status, or other legal relations are affected by such municipal ordinance can petition

and request the court determine questions of construction or validity pertaining to or arising under

such ordinance. Id. at § 37.004(a). The person may then obtain a declaration from the court setting

out its determinations. Id. Such determination can be either affirmative or negative in form and

effect, and the declaration has the force and effect of a final judgment or decree. Id. at § 37.003(b).

“Further relief based on a declaratory judgment or decree may be granted whenever necessary or

proper.” Id. at § 37.011. If a court deems such application to be sufficient, such court may require

an interested party to demonstrate why relief should not be granted. Id.

          24.       Pursuant to the Act, Plaintiffs request this Court make determinations to settle the

following questions:

                •   Whether the City’s actions violate the Fifth and Fourteenth Amendments to the

                    UNITED STATES CONSTITUTION or Section 17 or 19, Article I, of the TEXAS

                    CONSTITUTION.

                •   Whether the City complied with the PRPA 7 in enacting its Transportation Plan.

                •   Whether the City complied with the Property Rights Preservation Act in making its

                    final determination refusing to remove the Property from the Transportation Plan.



7
    Texas Government Code, Chapter 2007.

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             •   Whether the City complied with the Property Rights Preservation Act in denying

                 the Plaintiffs’ appeal regarding apportionment of costs.

             •   Whether the City has imposed a burden on private real property, which creates a

                 disproportionate diminution in economic value or renders the Property wholly

                 useless.

             •   Whether the City Council’s determination against the Plaintiffs’ real property

                 interest is for its own advantage.

             •   Whether the City Council’s determination constitutes an unreasonable and direct

                 physical or legal restriction or interference with the Plaintiffs’ right to use and enjoy

                 the Property.

             •   Whether the City Council’s determination is a constitutionally cognizable injury

                 that results in diminished value of the Property.

             •   Whether the City Council’s determination accords with substantive due process

                 principles through a rational relationship to a legitimate governmental interest.

             •   Whether the City Council’s final determination on the Property’s inclusion in the

                 City’s Transportation Plan resulted in an exaction.

             •   Whether the City Council’s denial of the Plaintiff’s appeal regarding the

                 apportionment of costs resulted in an inverse condemnation.

                                    VI.     CAUSES OF ACTION

A.     Judicial Review of City Council’s Determination

       25.       Plaintiffs incorporate paragraphs 1 through 24 as if fully set out herein.




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       26.     Plaintiffs are persons disputing the final determination of their appeal before the

City Council. Pursuant to TEXAS LOCAL GOVERNMENT CODE § 212.904(c), Plaintiffs are seeking

judicial review of the City Council’s final determination made July 26, 2021.

       27.     This petition has been filed with the Court within thirty (30) days after the date of

the City Council’s decision was issued.

       28.     The City Council erred in its decision because the City is demanding that the

Plaintiffs give up almost a fourth of their land and several hundred thousand dollars in construction

costs, and the benefits to be obtained by the Plaintiffs from development approval from the City

are not proportional to the costs of these development demands by the City.

       29.     Such decision violates the Fifth and Fourteenth Amendments to the UNITED STATES

CONSTITUTION, Article I, Section 17 or 19 of the TEXAS CONSTITUTION, and the Property Rights

Preservation Act and would result in an exaction and/or a regulatory taking of the Plaintiffs’

Property in violation of the law.

       30.     For these reasons, Plaintiffs request that the court grant a judicial review the City

Council’s determination. Plaintiffs request that the Court hold a hearing and allow testimony for

the proper disposition of this matter. Thereafter, Plaintiffs request that the Court reverse the

decision of the City Council.

B.     Exaction

       31.     Plaintiffs incorporate paragraphs 1 through 30 as if fully set out herein.

       32.     In addition, and to the extent necessary, in the alternative, Plaintiffs sue the

Defendant for exaction in violation of state and federal law.

       33.     The City Council erred in its decision because the City is demanding that the

Plaintiffs give up almost a fourth of their land and several hundred thousand dollars in construction



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costs, and the benefits to be obtained by the Plaintiffs from development approval from the City

are not proportional to the costs of these development demands by the City.

        34.      This proof need not be made with mathematical certainty, but it must be analyzed

on an individualized cost-benefit basis, based on the proposed development. This standard contains

a chronological element, and the City must first analyze the impact of the proposed development

and then fashion its dedication requirements accordingly. Here, the City’s exaction of the Plaintiffs

was decided many years before any development was even proposed for the Property, and it was

tailored to the City’s desire for a specific roadway through the Property, regardless of the proposed

development.

        35.      An exaction occurs when government requires a landowner to give land or money

or both as a condition to the grant of one or more development permits. Because the owner must

give up his property without the payment of compensation, constitutional concerns arise. There

are serious issues with the City’s calculation of rough proportionality, which could be considered

“outright extortion”. 8

        36.      This dispute began when the landowners contracted to sell their property for

$1,000.000.00. The contract for sale was terminated because of the development requirements of

the City. The City’s subsequent engineering study concluded that the doctrine of rough

proportionality would have allowed a City exaction of almost $1,000,000.00 in exchange for the

development approval. In a subsequent reevaluation which considered only the development

potential of the property after the dedication of right-of-way, this assessment was reduced to about

$650,000.00. Either value represents a significant percentage of the total Property’s value.




8
 The United States Supreme Court first used this terminology in Nollan v. California Coastal Comm., 483 U.S. 825
(1987) to describe governmental conditions imposed without nexus to development.

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Additionally, far from giving any benefit to Plaintiffs, the proposed roadway considerably reduces

the value of the land that remains.

       37.     The actions and decisions by the City constitute an illegal exaction, and Plaintiffs

are entitled to relief from the illegal conditions imposed on their development.

B.     Inverse Condemnation

       38.     Plaintiffs incorporate paragraphs 1 through 37 as if fully set out herein.

       39.     In addition, and to the extent necessary, in the alternative, Plaintiffs sue the

Defendant for inverse condemnation.

       40.     The Property Rights Preservation Act, Section 2007.002(5) defines “taking” as:

                   A. a governmental action that affects private real property, in whole or in part
                      or temporarily or permanently, in a manner that requires the governmental
                      entity to compensate the private real property owner as provided by the Fifth
                      and Fourteenth Amendments to the UNITED STATES CONSTITUTION or
                      Section 17 or 19, Article I, TEXAS CONSTITUTION; or

                   B. a governmental action that:

                           i. affects an owner’s private real property that is the subject of the
                              governmental action, in whole or in part or temporarily or
                              permanently, in a manner that restricts or limits the owner’s right to
                              the property that would otherwise exist in the absence of the
                              governmental action; and

                           ii. is the producing cause of a reduction of at least 25 percent in the
                               market value of the affected private real property, determined by
                               comparing the market value of the property as if the governmental
                               action is not in effect and the market value of the property
                               determined as if the governmental action is in effect.

       41.     A physically non-intrusive governmental regulation or action that affects the value,

use, or transfer of real property may constitute a taking if it goes too far without compensating the

property owner.




CAUSE NO. ______________; PLAINTIFFS’ ORIGINAL PETITION
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        42.     The City’s actions, while physically non-intrusive, have a significant impact on the

Plaintiffs’ real property rights. As such, they constitute a taking of private real property requiring

the payment of compensation.

        43.     The actions and decisions by the City unreasonably interfere with Plaintiffs’ use of

its property, creates a severe economic impact, and deprive Plaintiffs of their reasonable

expectations in the value of their land. The City Council’s final determination constitutes inverse

condemnation, and Plaintiffs are entitled to compensation for this taking.

C.      Violation of the TEXAS PRIVATE REAL PROPERTY RIGHTS PRESERVATION ACT

        44.     Plaintiffs incorporate paragraphs 1 through 43 as if fully set out herein.

        45.     In addition, and to the extent necessary, in the alternative, Plaintiffs sue the

Defendant for violation of the TEXAS PRIVATE REAL PROPERTY RIGHTS PRESERVATION ACT

(“PRPA”).

        46.     The PRPA requires governmental entities to utilize appropriate guidelines in

evaluating and reviewing the potential impact of a proposed governmental action covered by the

PRPA.

        47.     Under the PRPA framework, the City was required to perform a specific analysis

in order to safeguard the Plaintiffs’ real property rights.

        48.     No such analysis nor a takings impact assessment was performed to support the

City’s determination in this matter.

        49.     Pursuant to TEXAS GOVERNMENT CODE § 2007.044, the City Council’s final

determination and the City’s Transportation Plan should be declared invalid, and the actions of the

City should be declared void.




CAUSE NO. ______________; PLAINTIFFS’ ORIGINAL PETITION
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                                   VII.    ATTORNEYS’ FEES

        As a result of the conduct of the City enumerated above, the Plaintiffs have been required

to prepare and prosecute this action. Plaintiffs have met the legal conditions precedent to collection

of attorneys’ fees and therefore seeks reasonable and necessary attorneys’ fees regarding this

matter through the trial of this case and in the event of an appeal to the Court of Appeals and/or

the Texas Supreme Court. Attorney’s fees are proper under TEXAS CIVIL PRACTICE & REMEDIES

CODE § 37.002(b), TEXAS GOVERNMENT CODE § 2007.004, and TEXAS LOCAL GOVERNMENT

CODE § 212.904(c).

                                   VIII. DEMAND FOR JURY

        Plaintiffs hereby makes its demand for jury and tenders with the filing of these pleadings

the necessary jury fee.

                                          IX.     PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs respectfully request that this Court

issue citation for Defendant to appear and answer, and, on final hearing, that Plaintiffs have

judgment in favor of Plaintiffs and against Defendant as requested above, for just compensation

as required by the U.S. CONSTITUTION and the TEXAS CONSTITUTION, and for any and all such

other and further relief to which Plaintiffs are justly entitled.




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                                              Respectfully submitted,


                                              BRADY & HAMILTON | WOMACK MCCLISH


                                              By:     _/s/ John McClish
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                                                      ATTORNEYS FOR PLAINTIFFS
                                                      CORRIE LEA M. FEY, KELVIN H. KRAMM AND
                                                      MICHAEL C. KRAMM




CAUSE NO. ______________; PLAINTIFFS’ ORIGINAL PETITION
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                                      CONTRACT OF SALE

          Ti-llS CONTRACT Of SALE (this ''Contract") is made a.nd ent~r~d. in.to- by ·and between
 CORRIE' LEA l\1. FEY, KELVIN H. KRAMM, ~nd MICHAEL t. KRAMM (co_lleptively
 "Seller"Yand ECS DEVELOPMENT, LLC ot Ass.fgns'('~Buyer;.').. F<.1tand ·in .. consideration ,of·
·the. sum of Ten and No/100 0Qll.litts ($10.QO) and ofthe p~:emi·~e's, urtdettakings, and Itti.:itual
 covenants o( the. Parties.· set forth :in :this ·contract_, Seiler and Buyer agree to. the t~rrris· and
 cortd.itions of this· Contract an:d covenant an:~r agte·e.as follows:

                               .L   .SALE AND PURCHASE OF PROPERTY.

          1.01. Agreenlent of-Saie and Purchase. Except -as set forth beiow in Section LOLl,
Seller het'eby agrees to sell and con\'ey uri to Buyer, ~tid Bt1yer hereby agrees to· purchase f~·om
Seller the following Property for-One' Millioi1 and Nofl(iQ.:Dollat·s ($l;O.OO,OOO.OD) {'"Putchase
Price."):
            "Aii that certain tract or parcel of lan'd situated in Coma!' Co.umy, Texas. and being
            25.61 acres of land.·out of the John ThompsonSurv~y. No~ 21, Coma! County,. T~xas,
            and bein:g25.641 acre·s of !arid out of that certain 28..0 acre·tra:ct of land conv~y~.d by
            Eny[n P. He.nk to G.C.-Bip.z, et ux_.byde.ed dated August27, 1968, and-recorde.~ in
            Vol time J65 on pages l l 0-' Ill of the P<:led Recot~ds      of
                                                                           Coma! County, Te~as, and
            being the- ·same prop.e;rty being ·conveyed to Henry 0. Kramm by deed dated June 8,
            2010, and tecorded on )Jme 11, 2tn 0_, in Document No. 201 006019006 in. the. real
            ·property .records of Coma! County, texas, and be~ng more commonly known as 1890
            FM 1044, New Braunfels, Texas 78130 (the ''Lqnd'). Tht.l .Land.• together with all
            iinptoveinents thereon and all and singular the r.ights and appurtt;;n;:tnGes p~rtaining ·
            thereto are som~tirnes referred ~o collectively ~s th~ ''Pr(Jp?1'(v'?"
        .LOLl     Seller re~erv~s,·the·right to re.move. any cattk: pens, the gre~n hquse, and 51uch
other structures o'r paris .of th~ .struct~res .currently on the·'Lan~; on.-pr before the Closing. Such
items :will be removt;ld ·at SdJer'~ so.le cost and.-ex:p_ense without any reductiqn in t1u~ :Purch?.-S~
Price.

        L 02,   Irtdependen't Consideration and Earnest;l\4onev.
                (a)     Independent Consideration:.      In   co.nsideration of _Seller':s· e!(ecution of this
                        C{>ntract·and.for the rightto p)..u:chasdhe.La_nd grf).nted by Sellel,'tq Buyer,
                        I3uyer shall, within _fi.:ve (5) Busine~s. Dl:!-YS' after the l.alc:;r of (i) the
                        Effectiv~. Date -or (ii) th~ .d.ate S~ller proyid~s to B.uyer and ·Buyer;s
                        counsel Seller's tax identification number: deliver to Seller the sum of One
                        jhousand and. 'No(.t oo Dollars {$l,oo:o:oo{(n cash .(the ''I~depen4ent
                        Consideratfqn'~). The Independent Considera.tior:r shall 'be, under all
                        qircum;>tances.,. nonrefun<:lab le ·to Buyer.     · ·
                (]))     Eamest Monev. :Bl,lyet shall,. witbin. ten ,(10)' B1,1~it:ress Days after the
                        I;ff~ctive  Pate, deposit \vhh the Title Company the slim of fifty ThQi.tsand
                        and No/1.00 Dollars ($5:0;000.0'0) 1n· tlw form of coli!Sh (the '.'Eitrnest
                        .lvkmey''). Ninety '(90) d;:iys afi:~r the. execution of this agre.emen~ Fifteen
                        Th9usand and. No(1 QO Dollars ($I5;QOO,OO) of rh\! ·.Barnest.Money··sh?-11 be
                        non:wreftmc;l;:tble ~o Buyer._ Ifthis· CO!lt'ract is ter,minated by 'Buyer pdo'r'to
                       ·the-. ninety (90) day p~ri9d ~etJbrih in. tl:ie prior ~.eittepce~ all of the Eamest
                         M.qney then. on deposit sh&ll be..reti.lt'ned to Buyer by the Title Company,
                        as elsewher.~ prov:id~<.t herein., If the Conti'ad .is termimited l;>y B'u)'er aftei:
                        the ninety (90)- day .period, Pi~een Thousand Dollars·($l5;000;00}shall b~
                                                     1


                                                                                                             EXHIBIT
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                     :distributed to S~ller and. the remam.mg E.amest .Money would: th~!l be
                     -returned to Buy~r. The Title Company shall d~posit arid hold tlw E~rn~st
                     ·Maney in a feder\!UY-:insur~.d -interest bea.ring account, .qr in s\.J~h other
                      ii1Vestment.,
              (¢)     Application of Earnest Mane)!. At the Closing, the: Earnest Money ~hal.l
                     .be applied by the Title Company·as a .credit to the.Purcba.se Price ofthe
                     Property,                            ·
              (d)    Failure to Deposit. Tf B_uy~r fails to deposit the Earnest Money as.requirecj.
                      herein, and<if such-·failure· continues for a pe.riod of ten (I 0) d1;1ys after
                     \.vritteli notic.e· from Seller, then either- Party may terminate th~$ .Cont~act
                     by written notice to the oth~t- at any. time prior to th~. deposit of. the Earnest
                      Mo.n:ey. If this Contract is ·so ··tetmihated, thert. this Contract shall be
                     deem.ed to have· terminated &s of ·the date· that the Ea.rilest Money was
                     odgitially .to have bee.n deposit.ed.by·Bt)yer, and there shall be no remedy
                     hereunder to ..either Seller or Buyer -other than the. termination of thjs
                     Contract                               ·
       1.03. Defined Tenns. In addition to. words-and _phrases defined elsewhere in this
Contract, the follcnving' tenlis shall have the. memiing~ .set fo.rth in this Sec~ion 1. .03:
              (a)    .Applicable ,Law.. the term "Appitaable Lmr1' means ~;my city, c;ounty,
                     ·state, federal, or other governmental regul~tion, ordinance, law, cqd~, .or
                      statute, ·including any ,zoning ·ordinance or use r.estriction or any
                      administrative, eX:e¢.utive, or judki?l order;;, decre.es., or. c{~tenninations
                      ¥jhich govern; regulate, control, or qtherw~~l;l apply to the use of the
                      Property or -devel()pment qf the Lan.d ano .SlJbc;liv.i~ion, .jm:;luc!.ing withol.lt
                      limitation all Environmental Laws .
                    .Busin·ess Days. The term ·'Business Days;' mean$ any day whi.ch is not a
                     Saturday; Sunday, or a kg!ll banking holiday.          ·
              (c)    .City. Ti1e t~::rm ''City" me<;1ns th{;l City of New Br1;1.unfels, Texas.
              (d)    County. The term "'County'~·mean11 theu_County of Coma!, Te~as.
              (e)    Effective Date. Th~· term '"Effec#ve bate" .mean~ the later of the. date 'Of
                     Seller's sign4ture.or Buyet:'s sign;:Iture .
              (t)   .Environmental Laws. The term "Envirqnmental Laws" means any lo,cal,
                    · st~te, or Feqeral law, rule ·or. n;gulatiqn pertaining to. environmental
                      regulaition, conta)riina#on, clean-up .or disclosure, including, without
                      lim"itaticm et}_ch of the follow}.ng, as the:same may be amended from ·time
                     to time: . (i) .the Reso.urge_ Conse!."Vation and Recpvery A.ct        of1976 (42-
                      U.$.C. §690.1 et s~q. ), as amended b.y the· :Used OH Recycling Act of 1980,
                     the·Solid Waste Disposal .Act Amendments nf l980,:and the Hazardous
                      arid Sqli(j Waste Arn.endments ()f' .19S4 t'RCR.A'';). ·~nd regulations
                      pro.mulgated th~reunder;. (ii) the :con1prehenshte Envircinm¢ntal Response;
                      Compensati~n. and .Ual).ility Act of 1989 .(42 U.S·.C ..§9601 -et se.q.}, as
                      am.en.ded by the Superfund Ainehdt'nents and· ReauthorizatimY Act of ·1986
                      (''('ERCL(i''), and: re·g)Jl.ati~n~ pro.miilgi!ted thereunder; (Hi) .the ToxiC
                      &ubstances 'Control A.ct (IS U;S;C, §2601 et seq.); (iv) the· Eridang_ered
                      Species Act (1~. U.S.C .. §1531 ei.~e(].}; {v)laws, statute$·, ordinarices,"rutes;
                     .reguhitiqns, . orders, or. det~rminatioris relat.ing to ;'wetlands'\ 'including
                      without .\irn1t~;~.tipp ~hose sc;;t forth in the Clem~ Water Act (33 U.S.C; ·:§

                                                  2
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                        1251 et seq.); (v.i) the Te~as Water Coqe,; ~nd (v.ii} t,he Texas SolidWa~te
                        Disposal Act (TEx. HEALTH & SAFETY GooE ANN. §§36t.om..:J6 t .345).
                         Governmental Authorities: The. tt}rm ·~Governmental Authoritie~'' mea,ns:
                         the United States, the State: of Tex~s. the County and City (if any) .in
                         which the Land is Ioca.ted or.otherwise 'havingjwisdiction over the Land~
                         and/or SeHer and s·elJe{s or Buyer's development of the Land; .any
                         inuni:cipal utility distdct, \.vater corittol ano improvement district, electric
                         co.,op, or similar taxing authotity in . which .t!'ie Lam;l is located .or
                        .otherwise.· having jurisdiction .over SeHer and SeHer's Qr Buy~r's.
                         developme1'l!'· of the 'Land;..and any agency, .deparnm;nt, com.mi;:;sion,
                         board, .01' bureau of instrumentality of any .of the f.orego:ing,, including
                         Without limitation the Federal Housing Administration ("'FHA'~)~ the
                         Dep·artment .of Veterans Affairs, the At·my :Corps ofErigineets, the Federal
                         Emet,gency ·Management Agency, ihe EtWironmental.Protectioii Agency,
                         and the Texas.· commission .ort En:vironmetital Qu·aJity.
                 '(h)     Hazardous Substances. The. term ••Hcu:.ardous Substances" means (i) any
                         ''hazardous \.vaste" as defined by RCRA, and ·regulations promulgate(;)
                         thereun.der.; (ii) ariy ·"hazardous substance" as defined by: CERCLA, .. and
                         regulations pl'omulgated: thereundet; (iii) arty toxic -substanc.e .as defined
                         .urider ot regulated by the: Toxic Substi:mces Control Act;. (i.v) :asbestos,
                         polychlorhiated biphenyls, radon; or expl·osive or radit)active matet;ials~ '(v)
                          underground ·and :al)o.ve ground storage tan.l~s; whether empty~ filled or
                        .partially :filled with any s~ubstance, Oi·ncluding without· .limitation ~ny
                         petroleum product Qr anY'otht;;r •;h~Z~Idous substance"; (vi) any substance.
                         the·'pr.esence of which on the. Pt:operty is ·prqhibited ~y any Environm~.ntal
                          Laws; artd (vii) a,ny-othet stibstanc.e which by any Env.iromnent~J .Laws
                          requires special'handling·or ndtifi~ation of any dovern.m.enial Authority in
                         its (lollectlon, storage; trea:tm~nt; or dispo.sal.                        ·
                 '(i)   Parties. The term ·~Pcwties'' means the parti~s to      thl.s C6nfract, Sell.er and
                        Btiyet, and each may be refer~·ed to as. a "?arty''.
                        Restrictive Covenants, The tetn:1 "'RestrictiVe ·covenants'' mean~ the 4eed
                        restriCtions, .restrictive covenants, and/or declaration of covenants.,
                        conditions, and restrictions which shall be· plaped against and encumb~r
                        the Lots.
                 (k)      Title Company. T}J.e term. ''Titl~ Company" me11ns. New Bra~nfels Titi~
                        . Gompany .loc~teq at 243.$ s:eguin Ave., New Braunfels, TX 78130.
                               i;r•. SURVEY •.\ND TITLE COMMITMENT.
 .       2,01.   Existing- Survey. Within ten (1 0) pay~ following the Effective Date .of this
Contract,.   S~ller ·shall provide to BQ.yer a. «PPY' of the mqst recent existing survey(s) of the
'Property ("Ex/sting St!j:v?/'} if in Seller's poss¢ssiop. }1} the event ·that any Existi.ng;.Si..trvey is
updatt1d ·or revii;ied duripg the term of thi~~ Con~ract, or .if' any new surveys o.r subdiyision plats
covering the.Property and/orSubdivision.ar.e obtained by ~elJer duringthe ~erm ofthis Contract,
 S~Her: shall proniptlY.prQvi!;le a copy .there.ofto Buyer.
              .        .
         1. 0~. New Survey ..   Wiihi~ sixty (6)0 days. afte.r·the Effective Date, Buyer shall, at
B1.1yer~ s
         expense, obtain a curr~nt .on-the.-ground .s.ur.yey ·(the ""Propr:rty Sur.v.ey") of the. Pr:.opert;y
by a ·duly~li.~en.sed surveyor. The .Property S:urvey sh~ll be: in a fo:nn acceptable to the Title
Company in ord:er .tq allow the Title. Company to 9dete the· surve~ exception (except as ·to

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·"shortages in area';) from.the Title Policy tq be issu~d by the Title C9tnpany and ~hall otherwise
meet the Surve)' Requirements below..
        2.03. ·title co·mmitment.. Within thirty {30) qays af\:q_r the. Effe.¢tive Date~ Sellet; will
furnish to Buyer a .commitment for title insurance. at :Suy(':r's: s.ole .CO$t .and· expense {the "Title
Commitment") covering. alrofthe Land to b.e purohased by Buyer p~r~uant to this Contract in an
amount e·qmil to the total Purchase Price; issued b:y the Title .Company together with legible
copies. of all instruments: refl~cted as exceptions: th~rein,. inCluding, b:ut not. limite4 to, any
easem.e·nts~ :restrictions. -reservations, terms\· covenants, or ~onditions-which may b~.:applicable ~o
or·.enforceable agah:ist:any ofthe Land. The Titl.e Commit.inent wiH show S~eller .ki be owner 9f
good 'and -indefeasible tee simple, title ·to the Lar1,d and will contain tlw ·''stand.ard printl.';d
·ex.ceptions".
        2~04. Review ·Period. Buyer shall have. fifteen (15) days (the "Revie·w Period'') after
receiptoftheTitle Commitnient'and legible: copies of documents eyid<;lncingtitle ·exceptions;-and
the Existing S.urvey Cit Pro.perty Survey, in whkn to. examine.saine.and to deliver in v..rdting:to
Se[ler such objections .as Buyer may have tq .anything contained therein (''.Title Objectio.ns").
Upon the 'expiration .of the. Review Pedod, Buyer ·shal.l b.e 'Qeeme9· ·to· ·have ac.cepted aU
ex.c~ptions to .title to the. Land as· shown on the Title Commitment, except for dw Title
 Objections.
        2.05. Cure Period. IfBuyer giy¢s Seller notice o.fTitie ·ol;Jjectim_:~~. then Seller shall
use commercially teasonl).ple effo.r.ts-·to .eliminate or modifY.. such objectionable· it~ms to the
reasonab.le satisfactio·n of Buyer within. th'irty(J 0) qa ys (tht; ·'-~Cure Periocf') after rec.ei pt ofsu.ch
notice of objections and to cause. the· Titl.e Cornpany t.o revis~ th~ Title Commitmenfto.-reflect
such. satisfaction qr to proviqe B.uyer and th~ Title C.ompany. with .·~atisfactory evidence. that
Seller can and will c1..1re such Title Dbj~ctions prior to Closing (st,~ch matters, ·"'Committed Cure
Exceptions'~).                           ·
                 (a)     . f'ailure to .Cure; In.the event Seljer h~s not c:ured, Qr. chooses not to .cu.r~.
                           Buyees T~tle Objections within the Cure Period or fails to proyid.e
                           sati.sfactory evi,d~nc~ with respect to ..Committ~d Cl,lre Exceptions,· then
                           Buyer ·may,. at its option, ~~d as Buyet's so.le .{emedy, tern1inate thi::;
                           Contract ·~s to all or any of the. Land by writhm. notice to Seller within
                          fifte~n. (t5) days after th~ .end. of the Cure. Period. If this Contract is
                          t~r.minated,.·~hen all of the Earnest IVIoney shall be re~urneq promptly-tq
                           Buyer. Ne.ither !'arty shall thereaft.er have ~n.y further .Qllties, rights 'pr
                          obligations httreundei' with respectto any (.,and, ;is to which this Contr~ct is
                         ·te.rminated. If B~y~r.does .11ot te:rmii1ate this Contract,_then l3uyer sh?.l1. be
                          deemed tq hav~ accepted an_y ].mcured. Title. QbjectiQn$ as Permitte.d
                           Ex(;epti()ns.             ·
         ~.0.6, Permitted Exceptions. Any ex~eptions ~ccepted -by Buyer or to wbieh E':uyer:
  does not timely object.as required, by SeGtion 2.'05 shall be hereafter collectively: referred t'o·:as
. "Permitted Exception{'.: Posse!';sion of and title to th.e Land shall be delivere<;l      anhe
                                                                                           Closing of
  such Lanq free ~ncl cleai· of. a\Imatters exceptthe Permitted E~ceptio·ns.
                                        III..   FEASIBILITY PERIOD.
           ~.OJ. Enginee·ring. and Feasibilitv Study. Fqr a .period of One Ht.mqred 'and Eighty
(180) d~ys cphlrn_et~cing on the Effective Date (such petiod ·aftime, the ''Feasibility Period")
B1Jyer•. at its ef(pen~e, .may cqnduc;t -~ feasibility· study of the froperly (including, without
li)nitation, l(lrchi~eqtutal •. _geot~chilical~ erivironment!!l~ marketing. engineering and financial
feasi.birity studies) to detei. mine whetJ:(er ·or not the Proiiecty is_s!litabl~ ·to ·.Buyer..h1 the :ev.ent the
fe.asil;>ility s.tudy indicates, in Buyer's :sole judgment ·and discretion, that the· Property is. not
         to
suitable Buyer, Buyer shall.seil:d written riotice to Seller on ot before that da.te wl1iCh is, the last
                                                       4
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                   day -of .th~ Feasibility p·ertod. If auyeJ~ sends. Seller the. written notice ofnon:..suitabillty on or
                   before the; last day of the Fe.asibjljty Period this Co.ritra~t shall :autoinati<;ally te·rminate. bf the
                   event of"such.automatic termination, ~he Earnest Money wilt be retul.."ned to B!ly·er as ser :forth in.
                  paragraph L02(b) al?ovc.. and th~ Parti.e~ shall h(l.ve no fi.tr(her ob!igatiori to. each .other.. Not in
                  .limitation of the foregoing or any .other provision in tl1is Contract~ Bqyer inay .terminate this
                   Coi1tra.cfat any trme p"rior to the e_xpiration of the Fe.~sibifity Per:~od ·by.giving written.not.ice bf
                   such terrnipation to S~ller, and the· Earnest Money will be. returned to Hilyer as provided in
                  :paragraph.! ..Q2(b) ahove~n<;i.the ·P(I.rties shf').ll have no further.obligation to. e.ach other.
                         ·3.02 .. :Seiler Materials.& Propertylnformation. ~e.J!~r shall, within . fifteen (15) .d~ys
                  after the Effective. Date, provi.de access· to. or copies. (in ·both electronic ~nd. h;:u:d copy if
                  avail~bly) of all informatjon and m·~~~r.ials regardingth~·:fo.llowing (tll.e "Propefiy Infprma.tf:on")':

                        .          {l)      .all tax· biil.s .and. notkes of appraised vahre relating: to the Prope.rty,
                  including. Without limit~tion real property, personal propert.y; and.spe~~al.asse~sn)"~nt notice!; liD~!
                  _property v.alu:ation :stat~t:nents for the current-year and. three (3) _prior-years;
                       .           (2)      copies of any agricuhuraf,. gr~!ng, or other )ef!.ses affecting all or 411y
                  pot.Hon of the   P.i'o,P~rty ("'Lea~es");

                                . (3.)       .copi¢s _,of .any and ;:1il title .iJ::ls,urance policies qov.ering or issu.ed whh
                  -respect to .the Pro pert)! (which may be redact~d to delete the policy arno.unt);
                             3;03: Buver~s Right to Enter Property~ Buyer. and i.ts employ~e.s ~nc:l a.gents shall
                   have the right :and pepnission frqm and aft~r the. Effective. date ofthis Agr.e~mynt, and :sp long as.
                   tb.is· Contract is in effe<:<t io enter upon·the Propeqy orany part thereof, at ~U reasonable "time:s·
                   after a twenty-four (24) hour noti~.c. to Seller; forth~ purpose; of co.mpleting Its feasibility review
                   ofthe "Pn;lperty which re.vi~wmp.y i"nclude; withput limitaJion, rnakihg all soi_!, drain;1ge,"Liti!ities,
                   traffic, a.nd other tests required for t~e comp1~tiqn of ·the engineering ancl fe;1sibility stuc!y
                  desqrjbed in Section 3.01 above. All ofBuy~r"sinspections an4 studies must be cond.ucted-so ~s
                   nqt .tO:·l.lnrea.son~bly damage or interfere v;'ith the ·t..Jnderlying·Seller's or Seller's, as gppHcable;
                   U$e pf-t11e Property; and will b~ perform~o. at B1,1ye(s ~qle expense. FoHowing the corppletion .of
                   Buyer's inspection ;md .i:nvesUgalion o.f the. Land, Bl;lyei: will res_tore, as close as reasonably·
                   prac_t1cabl.e, those pmtions of the L~nP. disturbed by Buyer's actiyiti~s to subs.tantially th.e~ same.
                   conCliti"o:n. ex;i~ting hn111ediately prior to the com.m.enc.ern:en,t of Buyer's ihsp~ction Jmd
                   in,vestigatiqn, to t)w e:?'t~nt that .such d_istutb~l)ce was c~us~d by BQy<.?r's ilJspec~ion and
                   investigation,:ar {3Qyers sole expens<;: .. Buyer agrees to .indemnify anQ..hold .Seller hatm.le~s. from
                  any_ clairp ·or liability that.may ~ri~e against Sell.er by re~_son.of such ·investigations and.·that are.
                   not attd.butahle. to ·the aCts; ;omissions,. neglig~nce, or willful ·mi.scorrduct        of   SeHer, 0r- their
                   r~speqtive ... agents, employees, or contractors, inch,1ding, qut .not .lirpited to,_ injuries to al).d/or·
                   dea.th of:pers(m~ or damage to prop.erty arisingfrpm Buyer's activities:. ·Buyer ·will notpermlt
                   any liens to .attach to the:Prop.e)ty byreason.of the -exercise of Buyer'·s rigflts undenhis ArticlE<
                   .1.11. Buyer wit! 1ndi;mpifY Seller frop1.:anq against ·any ~nq .al.l liens qr· .claims by .contractors,
                   subcontractor~, mat~rialmen., consultl:J,rits, qr laborer:s _ pert9r.rriihg wcir}1:, "trespassing, ~t1.1dies, ot
                   tests -for. Buyer a.nd ·from .ano _against any and all cl!i).jms for damages by third parties: arising alit
                  .of the conduct .of s.u~h work, ·studjes, .and. tes.tfand/m' any other ·activiti~s of Buyer·'l.Jl'l.der. this
                   Contt;acf or related to the Prqperty; provided, ltowever~· that the, foregoing Indemnity and hold
                   harmles·~ obligations will not apply to {a) aiiy loss,:liability, cost~ or expense to the extent atis1ng
                    from or related··to the .acts·-or omissions 0fSeJler,. or their ag¢nts o·r consultant5L.to the exterit that
                  :s:uc:hads or. <Y111issi9ns are no"t resultingfroin Buyer's breach;· (b) a.ny dirriimition in v~fue in. the
                   Property adsiilg from or relating_ to -m·atters discoveted. by Btiyer during its fnvestiga:tioil 'of thi;;.
                   Prop_erty,._{c)any laterttdefects in the Property disco.vered by Buyer,_ or (q}.the release.or spread
                   of any hazardous substances th~t at¢ Q.iscovered (bJ.t~ not deposited) oh or under the Ptoperty by"
                   Buyer.

                                                                         5:




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                                                                      IV.     PROVISIONS WITH RESP.ECTTOCLOSINGS .

                                       . 4,,61 ... Closing, Tb.¢ ·Closing shalf t~ke pia~~ no later tha,n thirty (30) days . aft~r the end
                             of the Feasibility Period.
                                          4,.02..     Seller's Obligations at·Closl.ng. At the Clo~ing, :Seller shall,,at :S~ller'~ expen!ie,
                            taketh~· following            actions and <;leliver·or. c.au~e to .be delivered to Buyer onhe Title Company, as
                             applicable, the fol.\owing:                                                                                                                                     ·
                                                      (a)          Deed.         .Er;.e:cute and Qellver· tq Buyer a .general warranty de~d. duly
                                                                   exec;:ut~dand ~cknowledged by Seller, c.onveyii1g to Buyer good and
                                                                   indefeasibie:fee simp!\!·title. to all bf the Land;. free and clear of aU liens,
                                                                   daims, and .encun1.oram;es excep~ th~ Permitted Exceptions.
                                                      (b)          Assignment or Terminatio:n of Leases·.      At the Cltising, Sel.Jer shaH, af
                                                                   Buyer'n)ption~, either (i)assign or paitial!y assign to Buyet' any Lease that
                                                                   Buyer has elected t6·assume:and that affec~s· the Property being purchased
                                                                   at such Closittg, or (ii) terrrtiilate. all Leases ~affecting the Property
                                                                   pUtchased b); Buyer at ·SUch Closing,                       ·
                                                      (¢)          Other Documents. S.ellet shall exe·cute and. deliver such other documents
                                                                   as: are .customarily ex¢cuted· in Texas in·· connection 'with the sale. of tefl.l
                                                                   property, inc)uding all~;equited plosing ,statement.s, evidences ofauthority
                                                                   to ((.Xecute the documents,-.and·a.ny oth~;r insh:uments that may beTequinid
                                                                   by the Title.'Co.mpany .or by tbl!·express .te~ms·ofthis Contract;
                                                      (d)          Taxes. DeHver tax certifi~;ates, or :qther eviden~;:.e that alj aq valorem or
                                                                   o.ther taxes for th~ Land have been paid fonhe years prior to the year of
                                                                   th.e: Closing, and .pay or escrow with the Title Company all .taxes for the
                                                                   Land forthe~urrentye.ar up tqthe d.ate ofClosihg;           ·
                                                      (e)          Possession.             Deliver possession . of the                      L~nq p1.,1rchased at                Closing to
                                                                   Buyet·;
                                                      (f)          Closing Costs. P~y Sei Ier' s. cio.slng .costs as hereinafter :spedfi ed; and
                                                      (g)          Releases.   Ca\tSt;: to be ~ecm:~d from S~llet.':~ lender, or other holder of any
                                                                   note odien on the Property; a properly-e~~c1,1ted anp recordable releas~ or
                                                                   partial release of]ien for execution: and delivery simultaneous1y with .the
                                                                   deed of the Property to Buye.r, o.r ~s ·.sOOJ:.l tnereafter as is rea,son~bly
                                                                   po~si.ble.

                                                      (h)          Title Policv, Caus~:th~ Title Company to iss.ue and a,dvi1)e.J3uyc;:r that i~
                                                                   has issued an owner's fe.e,. policy of titleJnsur~nce (the ;•Title Pqlicy") ih
                                                                  ·the ·.a.mount of .the Pul'Cnase. Prict;, insuring f¢e ·simple, gqod and
                                                                   indefe~sible Htle to the· Property and: ·right ·of :access t\wr¢to 'in Buyer,
                                                                   containlng·nq .exception~ other·than the PermittedExcep~ions.
                                   · 4.0~. Buyer;s Obligations. :at ·closing. At the. Clqsing, B11yer shall, ·~t .B.uyet's
                             expense, take ..the following .actions and .deliver of cause to b.e deliyt;{ed to· Sell~r or the Title
                             Company, ~s.:applicab1e., th~ following:
                                                      (a)         .Purchase Price.. Pay to Seller the applic~ble ·Purchase Price in cash for the
                                                                   Property at c.:;Iosh1g.
                                                       (b)         Assignment of Leases. At :any ClosinK at which BJJyer:ha:s· elected to
                                                                   assum~. ~my Le~;Lse affecting. lhe Property, Buyer shall ex¢cute an


                                                                                                               6




--······------·-·---·---·-·-······----------------·---------·····-····---·-······--"------·--·--·----····----··-·-·-·--·-····---·--·-·······-·---·-···---·--··-···················-····--·····--·-·-···-·····---·-·-···-----·--·---
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                                                                     instrument .assum{ng all .of Seller's (ight.s, title ancl interest under such
                                                                     Lease beihg,assigned.                        ·
                                                        (c)          Closing·costs .. PaYBuyer'·s closing:costs as:h~r~inafter~pecified.
                                                        (d)          Other Documents. Buyer sh;:l..ll eXe¥ti.te and:.d~Iiv.-;:r SI.J.Ch:oth~r documents
                                                                     as are customal"ily. ex:ecutGd in Texas in conne.~tion with the purchase ·of
                                                                     real ·pwpe·rty, jnduding all requir~d closing ~ta,t~m~11ts•. ~;videnve~ ..of
                                                                     authofity-'to execute t~e'.documents, and any other :inst~ul)1~nts,.that may be.
                                                                     required by the Title Company or by, the express·terms ofthis Contract.
                                        4.04. :Seller's Closing Costs. SeHer shall pay the foilo~;\tii1g costs a·nd exp.enses in
                              conrtectii;lri with Closing: .(tJ.) Seller's ·oi.\'li attorneY's fees~ (b) SeHer's portion of tl1e:prorated
                              taxes and,fet;s and arty ·asst~ssr.iients :(as provided belo\v); .(c) the cost of t~x certifkates mentioned
                              abo:ve; and (d) such other incidimtal costs an.d fees cListomarHy paid by Sellers in Comal Count)"
                              [(:)nd tran$actions :Of this nature .
                                      .4:05. Bu)'er's Clo·sing .Costs. Buyer shan· pay the following costs arid expenses in·
                              connection \Vith Clo,sing: (a). Buyer's own.. attorneY's. fees~ ,(b) Buyer's .PmiiO'n of ~he. prorated
                             'tax¢s and fC.e?, (as :provided below); {c) the cost of recording' the general warranty deed; (d) the
                              cost of ai1y Title Company esc·rov•i fee; (e) the ·cost of the title policy premiun:is and for a~y
                              $dditi'b'rtal·endorsemertts or revisiOns to the stat'ldard exceptions in the Title Policy reqUired. by
                              Buyer;.· and (f) such other· iri'c.identa! costs and fees customatily paid by purchasers in· Coniai
                              County land transactions of.this nature.                                         ·
                                           4.06.        Prorations and Rollbacks
                                          A.        .PRORATIONS:           ·Tax·es for the: current YGar~ interest, maintenance fees,
                                          -assessments, dues al\d: rents will be. prorated through ihe Clos.ing Date. The tax proration
                                          ·m.a.y be <':'akulated taking. Into consideration any changei:n exemptions that Will affect..fhe..
                                           current year's taxes. If taxes for the ·cun'ent year vary from the aritount prorated at
                                          ·Closing, the .parties shall adju$t the prorations whert tax statements for the current )lear are
                                           avi:iihible.. Iftaxes ate hot paid at or prior to closing, Buyer sha11 pay taxes:foi'the current
                                          ·.year•
                                          .B.      ROLLBACK TAXES: Jfthis sale or Buyer) use cof the Property after Closing
                                          ·results in the assessment of additional taxes~ penalties or·· interest (Assessments) for
                                           periods priot' to cl'osi11g; the Assessments· will be the obligation of. Buyer. ff Seller's
                                           change iri use of. the Property prior t6 ·closing or denial of a sp·ecial use valuation on the,
                                           Property daiined by S~llcr · re~ults in. Ass¢·ssmertts for periods .Prior to closing; the.
                                           Assessments will.be the· obligation ofSeller. Obligations imposed by this paragraph will
                                           survive· closiltg..                                   ·                         ·   ··
                                                                                 REPRESENTATIONS, VVARRANTlES,.&:COVENANTS.

                                           4.07.        Seller's
                                                        Representations .& Warranties. Seller iwreby makes the. following
                             -representations and                  wai'ranties~ to
                                                                     the best of Seller's. actual .knowledg~; with respect to the·
                              .Closing, which ·Shall also be tn1e .as·ofth~.·:Effectiv~ Pate and as .of the: Closing~. and which shall
                              survivetheClosing:                                                                                                 ·
                                                        (a)          Seller has cqmplied with all.App!ic!:\ble L1:).ws ~nd LGgal R~quireme.nts.
                                                                     relating to the P.rop.erty;
                                                        (b)          There are no parties in ·possessiQn of any portion .of the .Lal)d as lessees,
                                                                     tenant~at suffepmce, .or tr.espassers;
                                                         (c)'        There ·is no .pending or thr~a.teped ~onqemnatiop. or similar. proceeding or
                                                                     sp~~ial .ass~ss.ment affe.ctin,g the.Propt.;rty, or any· part thereat~ nw·, to' the,
                                                                                                  7




--··---------·-..·--------·--···-··-----··---------·-..·-----·····-·-"·---·-·-   ______________
                                                                                           ,             ,_,   ________ ......... _..____.____ ____
                                                                                                                                            ,         ,_,   _______   ,   ·-····-·-·----·-..····--·-----·---·-----
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                        actual knowl¢dge of: Seller, is a11y :s4ch pro.ceed.ing             or   assessm~nt
                        contemplated by anydovemmentaiAuthori~y; ·
                       There .are no unpaid ·charge~, d.ebts, li3:bilities, ~laii11s, or obligations.
                       arisi11g from the construct"ioii, oc9npanc.y, -ownership, use, or ope.ration of
                       the Property; including whhout limitation any and all amou.nts du~. and
                       owing to Seller's engineers; land planners, or other devdopment
                       consultants;.            ·                 ·                             ·
               (e)      Seller is not a "foreign person", as defined. in r.ecent ·amendme.nts io the
                        Internal Revenue Code and, at· Closing under this Contract, .Seller . agre~s
                        to provide to Buyer- an affidavitto that ~ffect
                        {t)      At Closing,. Buyer.~hall have· good arid .inarke1:able indefeasible
      title"· to the Propeity·free arid clear of all liens. and ·encumbrances other than the Pennitted
      Excepti"bns a11d upon purchase from Seller, Buyer shall ;acquire. o\vnei·ship of the entirety
      of interests in th'e Property.                                                                 ·

                      (g):     Tl").ere has no.t.b.een C\)_nquc;.ted by Seller;-or its ag~nl.<;-or·ernployees
      any work which qoj.Jld result in. ther irnposition of any mechanics', materialmen's, .laborers'
      or similar statutory liens upon the PI'opeity;                    .

                     (h)     Seller has the full:t.ight and. authority to :consummate or cause: to b.e
      con·suninYated the purchase co1:1ternplat~·q )ierein. This Agreement an<:l.. all of the
      documents to be delivered by Seller il,tthe Closing have. be,en and wi!J ·b.e authorized and
      _prqperly executed and wilt .constitute. th.e v;:tlid and "binding obHgations of "Seller,
      enforceabk in acc.ordance with their tenns·;

                        <n There is no periding ·or thl'eatened litigatio~ ·or similar att!ori
      affecting the Property cir· the Seller, nor .to the best knowledge of Seller is· any .such
      litigation"X)t..action coriten1plated by any party•. entity~ or governmental a.uthority. . .

       4.Q8.   Seller's Covenants, Sdle.rhereby cov.eriants·.ai1d agrees \-Vith Buyet"as foll"ows:
               (a)     Immediately J.!pl'm obtaining knowl~dge ··of the "institution of any
                       proceedjngs for the condemnation of the· ·Umd.or any pcirlion thereof, or
                       an:y other ·pwceedings arising out of irijuiy or damage to the Lahd or any
                       portion thereof~ Seller will notify Buyer of the pendency of such
                       proceedings. ·                                          ·
               (b)·     Seller covenants and agrees to rhaintain all <l;gricuhut:al or· open space
                        exemptions applicable to :the Property {ot any :portion therebf) ·during the
                        term of this Contract; until such time:as Buyer has either (i) _purchased. th~
                        Property (or appllcable portion thereOf) and ·has assumed any ~gricultutal
                        leases applicable. thet'eto or {ii) ·agreed in Writing to the termination by
                        Seller Of suGh agricultural or·other exem·ption applicable to the Property or
                        portion theteof~                                   ·
       4:09. Buyer's Representations and Warranties.                 Buyer hereby r:epr~serits and
warrants to. Seller ·that ·Buyer has the. full right; power~ and authority to purchas·e tb¢ Property
from Seller ·:as ,provided in this Contract and to. carry out its obligf!tions. he.reund~r; and all


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required action necessarr to m.ithotize Buyer to enter i:nto this Contr~fct and to car\Y out· its
oblig~tions hereunde(has been orwtll have been taken.prrotto any. Closmg  .. Date.

                                              V;   ENVIRONMENTAL.

           5.01, Representations and Warranties. Seiler hereby reptesents and warrants to
Buyet that: (i) neither Seller noi', td Seller's actual knmvlcdge, any .previous 0\yner of the·
Property or any 'other person or entity has ever .used; generated~ proc·essed, stored, disposed 'Df~
·releaseq or-discharged atiy· Hazardous Substa.nte on, und:er,·m· about the Property or tnmspofted
it to or Jrom ~he Pi'operty; nor~. to SelJel:''s actual knowledge~'. has ariy paf\:y ever alleged tha:t ariy
su.cb .activities.hav.e occ.utted;. and (ii) to the best of Seller's actual knowledge, no use by Seller,
any J'}l,"idi; ·owiier of the Property, ·or a·ny other ·per'son,. has occtirred V.ihich violates od1as been:
~lleged   by ·any party to ·vioJate· any applicable Environment~! Law, ·andthe Prqperty·is: not :on any
"Superf\,li1d"   li~t   ui1der· any applicable Envfrbl:tmental Lavv,. nor· is. it subJect to any li'e.ri rehiteq, to
any environmeptalmatter.

                                                   VI. REMEDlES.
         ·6.01. Seller's Remedies. Iri the: event that Seller shall fulfil.! all of Se!Ie{s obligations
putsuant:to this Contt·act and; should Buyei· ·breach .any tenrt of this Contract; Seller .shall be
entitled, as S~llefs igple and ixc!usiv.e remedy, tb (i}Waive·the conti"actual ·obligations of Buyer
in ·writing.; (ii) extend the time for performance by such· period of tirhe as may be. mutually
agreed .upon in writing by the. Pinties; or (iii) 1erri1h1ate this :Contract and retain or receive the.
Eai:(lest Money then on d¢posit as liquidated damages for such default. and. not as a penalty, in
\\ihich event the Paities .. shaU be. released hetefrom and .have no futther rightsi obli'gations, or
respons·ibilities hereunder.                                                                 ·
        6.02; Buver's Remedies.- If Seller defaults ·in· pei·tbrrriing Seller''s obligations
hereunder· for any t'eason other than Buyer's default,. or if Sdkt :otherwis·e breaches any
representation 01' ~varranty hereunder, then Buyer may (i) \valve the contractual obligations of
Seller in wfititrg; (ii) extend-the time.fot; performance by'suchperiod ·of time as inay be mutually
agreed IJp6n hi writing by the P~rties;~ (iii) terminate this Contract and receiv.e a return of the
Earnest Monc)ithen on deposit~ (iv) prosecute an action against S~llerfor specific .Performance
ahd recover from Selletall reasort.a:hle attorney fees a:nd costs assoCiated with such action
         ·6.03. Attorneys' Fees. In: the event Seiler or Buyer breaches any of·the terms~
pro\ri'sions, warranties, repi'ese.ritations, covenants; ·or agreements contained in this· Contract and
Seller and Buyer hecotne involved in litigation with regard to· breadi hereof,. .the prevailing Party,
shall be e.ntitled to be paid its reaso·nable attorneys.' .fees.                                                   ·
         6~04. Limitation on Damages. In no .event shall either P.arty be. iiable to the other
.Party for (and each Party het~eby waiv~s .alt·rig~ts 'to) .any sp¢culadve, consequentiat or punitive
damages . for any breac;h        of or default under this      Contract or under any 9ther provisiqn.of this
Contract.       ·

                                       yn.   NoncEAND.RlGHTTo CuRE.

         Each Party shall be .entitled to written not!ce of any default. ~n1;l shall have sixty (60) days·
after' receipt of such .notic~ to core su£<h 'default prior to ~ht'l ~xercise of any remedy provid¢d
herein:; .Provid~d~ however, ·d:uring the p.endenyy of ~ny'4~fault by Seller .and .any .applicable- ~ure
period, ·Buyer''s,obligations to.clqse the purchase:ofthe.P.rop·erty in accordanc~ with this Contract
shall.~bate~. S~.lkr agrees to ~oope.rate with. Buyer in any and all a~~r.npts· by Buyer to· cure any
default within the defa1.;1lt.cure pei.~iod.                                              ·


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                                        -"VIii.   COMMISSION,

         Seller at1d Buyer each· het'eby ·warrant and represent to the otb.er that no brokers, agents,
tinders' fees or commissions; or dth~r similar fees, are. due or arising·jn connecti9n with the.
·ente"ring·b1to of this Contract, the.;.sale and purGhase of the Prope~y, ·or tl~e consmm:nation of
ttansactiotis contemplated hetein. SELLER AND BLIYl~R EACH HERE.BY AGREE TO INDEMNJFY AN:O
H.OLO THl~ a·THER HARMLESS f'ROM AND AGAINST ALL LlAB.ILIT;y, LOSS, -COST; DAMAGE, Oil.
"BXPENSE (INCLUDING BUT NOT LIMITED TO" ATTORNEYS; FEES AND COSTS OF LIT!GATlON) WIHCri
'!tiE OTHER PARTY SHALL SUFFER.OR INCUR BECAUSE OF ANY CLAfM BY .A BROKER, AGENT,. OR
FINDER CLAIMING BY,, THROUGH, OR lJNDER SUCH INDEivrNI.FYING PARTY; Wl::lETHER'OR.NOT·SUClf
CLAJM IS tviEIUTQRI.Ol:IS. FOR ANY COMP-ENSATiON WITH RESPECT TO THE ENTERING INTO. OF THIS
 CONTRACT, 'tHE SALE. AN·o PURCHASE 0~' 'i'HE PROPERTY,. OR. nm CQ'NSUMMATION ·OF THE
"TRANSACfibNs·coNTf:MPLNl'EDHEREJN ..

                                            IX. "NOTICE.
        Except as j'irovided b~low with tespect to any notice authorized, required, or permitted t9
 be given herem1denhall be .deeined to have. bee"i1 given. upo.n .the .dep.o·siting ohuch notiCe in thl!
 United States mail, postage· pre·paid, ce1tified mail or registe~ed mail, return receipt requested,
·and properly ·addressed to· the Patty to be notlfied atthe followin·g address:                ·
If.to Buyer:




Witha.copy to:

Jo~hua M; H~nqersop
Henderson,; Brandt" &.Vieth,.P.A .
.360 E. H~nry.St., Ste. 101
·spartanburg; SG·29302
Phone: (864) 582-2962 ext. 10.8
Direct Pial: (864) $82w$2o::2"
·Fmc (864) 58..3-1894
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Ifto S.ell~r:

Corrie Lea F.ey
268'1 CR 420,
·Sfockdale_, Texa:s 78160
Kelvin Kramm
 272 Kove Ln~
         ·rx:
'Ciholo, ·781 08
-MiChael Kramm
P.O. Box: 185       .
Marble Falls, Tx 7.8654.

With Copy to:
Brei1t1y W. Free, LLC
Attn:, Btently W. Free·
75:5.Loop 3.37,StJ.ite A
New B.ri=qinfels, TX 78130
PhOne: 830-358-7432
Eniail: Brent@bfreelaw .co.m
                (a)     _Any Party way, from time to time and ~t ariy time; change its address by
                        giving ten (10) days' w6tten notfce tq the other Party of such change of
                        .address in the 1nanner set foiih above. ·      ·                   ·

                                 X. MISCELLANEOUS PROVISIONS;
        10.0 1. Relationship .of the Pa:rties, S·e!ler and-Buyer agree as foHows:
                (!l)     The Parties: will each coo.p·etate \¥ith each other, their employees; at'ld.
                        ·agents to fac.ilitate .the purchase ofPtci.perty by Buyer under the terms and
                         coi1qitions herein set forth.·                        ·.
                (b)     Nothiqg contained ·berehi is iri:teilded to create,, ·n.or shall ·it ever be
                        con.strued to n1ake~ Seller and Buyer partners =or joint venturers.
                ·(c)    Unless other\vis.e specified in this ·Contractl any cons·ent requested or
                        reqt1h'ed by one Patty un:.der the terms of this Contract· sha!I not be
                        uilrea~bnably withheld   or delayed by·the other Party hereto.
          10.:02. Condemnatio·n.. lf condemmi.t.iort ·proceedings are .commenced against arty
 portion of the Pi'operty prioi: to Closing; then Buyer ri1ay: (i) tenninate this Contract; in whole. ·qr
 only with respect to·the Property affected by the condemnation proceedings, by written. notice to.
Seller \'{ithin forty-fi'.ie .(45} days: after Huyer· is ady.ised of the condemnation prm;eeding ~nd the
 Earnest Moriey ·shall be refunded to Buyer; or (ii). appear .;:1hd .defend B1,1yer' ~. intere.~ts ·in the
 cprtdeinmi.ti'o!l proceedin.g ·and ~my award .in condemnation ,shall. at Buyet~s f;lection, become th~
.pi:.operty of .Seller and the purchase: Price fot the Prope1ty .shall be. re,d uceq by the. $~me amount
 or the· condemnation award shaH become the property of Buye.r :and the Purchas~ Pric~ for ~he
 Property ·sh~ll not be reduced·.                      ·
          10.03 . .Casualtv. If any of the Property i$ damage_d or d_estroyed b~fore Closing, then
Buyer may (i) termimite this:.Co'ritract, in which cas.e the Earnest MO:J.ley spa!l be·refunded ~Q
B1,1yer,. or (ii) Buyer may ·elect to terrninate.·this Contract within si~ty (60).days oftbe.Ca::nJ;alty
event occurring .as to some or all of the d1;1rrtaged Prope.rty, in which c;as~ tlw applicable portion
ofthe,-EamestMoney wiJI be refunded. to .Buyer, or (iii) Buyer x:nay elect tq, exte11dthis Contract
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and allowSellertirne to repair and.restorethe Property. In th~ cas!': of.a.casuahy lmpa~t.ing,the
Property~ if Buyer elects ;t() extend. this Contract, ihe.n Buye.r may set forth·in a writ.ten notice to
Seller a reasoi1able deadline ·by which any repaii· ot re~toration mu$t bf;': comp1eteq, an <;I, .if .not
completed by such deadline, then Buyer may resort to its oth·er re:m~o.ies under tbi~> Section.
        10;04. Survival of Contractual Provisions;· Binding Effect: Seller and Buyer.~gree· as
fO.!J9WS.:                                                             .                        .    .
                 (a)     All of the n;pres.entati.ons., warranties. covenants, and :agreements fuade.by
                         Sell.er <\nd by Buy.er. shall survive· the Closing· ·a:nd shaH not be merged.-
                         ther.ein for the  ben~fit of Buyer and            Seller and their respective legal
                         repres~ntat~ves,·suc~~sso.rs, and assigns.

                  (b)    Any covenant or·agryem.~nt herein. whi¢.h c·otitehi.platcs perfonn,a!)ce after
                         the :time of Closing ofthe ~ale sh.all not be deemed: to be. merged into or
                         waived b:y the instrume.nts of the re;;pective Clo·sing, but sh~U expre$.sly
                         surviv.e Closing anq be.:bindingupon th~ Parties .o"Qliga~eq.the,reby: ·
                 (c)     The t~rms, provisions, w;manties, tepresentations, covenant~. and.
                         ~greemynts contained in th.is CqntractshalJ apply to, bebindiilg upon, anc,l
                         inure tp the Q:enefit .qf, the ·partie.s· .and· t}le"ir re.!';pective legal
                         representatives, successors, and assigi1s.
        10.05. Construction, Inter.p1·etation, and "SeverabilitY··               Seller anq Buyer a~ree as
follows:     ·
                  (a)    Time l.s. a [the e.sseri.ce hi the ·perforrmi.nce qf this Contract.
                 (b)     THis' CONTRt\:Cl' SHALL BE GOVERNED AND INTERPRETED: UNDER THE
                         LAWS OF THE STAlE OF TEXAS. VENUE FOR ANY LAWSUIT .BROUGHT WITH
                         RESPECT TO. ANY CLA)M u:Nm:R "tHis" CONTRACT "SHALL BE IN COlviAL
                         CotiNt¥; Ti~XAS..     ·   ·

                  Cc)    The s~cti.on an,d paragraph headings used hi this Contr/i!Ct are fot
                         qQnv~ni~nce. purposes only~ a_nd sbaH not be used in the interpretation of
                         this   Cbntra.~t..

                  (d)    All exhibits attached heret() are incorporated herein by reference and made
                         a part ofth i$. Co).'l.tract:           · ·                     ·
                  (e)    This. Contract c,ontains the entire agreeri:len t betv/een the Parties. relating to.
                         the Property, and neither Party shaH be bound by ariy verbal -statement or·
                         .agteement. · This Contract cannot be varied .except by written agreement
                         ·execU.ted by the Parties.                                  ·
                  (f)    .FaUure of "Buyer or Sellet to insist in any one or more instance·s up.ort the
                         .performance .of anyofthe.covenants, agreements; ·and/or. conditions of this
                         Cqn1nict, or to exercise any right or ptivile.ge herein conferred ·shall not be
                         ·cotistrl,.led as a·waivet ·of any such covenantor condition.
                  (g;}    The terms and pro\iisiorts .of :tbis Conttatt are. s·eve·rabie, and if any
                         :provision, tetm, or part hereof. or the··.application thereof tQ any· p~rsop or·
                           Clt¢ti!nstances. shall ever be held by any court of<;ornp~tent Jurjsc:liction t<;>
                          be ilie·g~l, unenforceable,. invalid, on.inconstitutionaJ for any·re~son, the
                          ,remainder Of this Contract a~d the applic1:l-tion ofsuch provisi:Qns pr part.
                           hereof· to· ·other .pe:rsons or circumstan:ces .shall not be. aff~cted thereby.
                          This Coi1ttatt a;nd its interpretation .and enfqrcerne.nt ·shall b.e. affected-only
                           as to the ap·pfication ·of:any ·suc-h "items, terms, o.r provisions c{eem~d
                                                         12
         Case 5:21-cv-01090 Document 1 Filed 11/08/21 Page 33 of 68




                        iilega), unenfor~e~ble; jnvali.d, or -unconsdtutio.n;:ll, an<;l this Contract shall
                        in al1 otlwr respe~ts r~ma:in i.n't).J.ll force.. and ~ffept.
                (h)'   As. used in· this .Contr,act, :~dayS:'' shall mean and ref.er to: calen~l'ar c!ays.
                       Not itr limitation of the provisions below with .r~spect t9 ·Permitted
                       Deadline/Closing Days, if· a .dead fine, .falls 'or .notice is required on a
                       Saturday, Sunday; ot a legal barikii1g holiday, t)len the d~f;lqlin('{ or notj(;e
                       shan· be extended to the:nex:t .calendat day wh~ch. is a Business Pay.
                (i)     Ail ptovisio·ns ofthis· Agr.e~ment have: been negotiated by both P.arties at
                       arin's lei1gth artd neither .Party shall be deem¢ct· the scdvc.ner of thi.s
                       Agreement The rqle of'construction that ambigiJities in il document will
                       be· .constt·ued against the. party who drafted it wilt .not be applied in
                       'interpreting. this ·contract. Buyer ·and Seller ackrtowle~ge that. (i) each P'arty
                       has ·cai'efully rea9 and ·understands the provisions of this: AgreernGnt,. (ii)
                       each Party has the, right to .seek independent legal aqvic~ at. its own
                       expense, and (iH) each Party h~;ts proposed mm;iifly<ltions prior to.signing
                       the Agreement and has. negotiq.t~<;l pJ:Opose.d modifrcaticms .to th~ ~xtent
                       each Party deems nece.ssary. Bpyer and S~Ciler l'Gpresef\t and . warrant that
                       each Part)' bas' entered into th1s Agreement v,o!unt~rily and. after consulting
                       with whomsoever each Party desired.

        10.06. Miscellaneous Provisions·: Seller and Buyer agree as·.follows:
               (a)     Except as otherwise expressly set f9.cyh ·in this Section 1L06(a), this~
                       Contract may only be .amended, r:nodi±1ed, or Ghanged by a tr!lditiqnal
                       :Written :dbcumen.i .·properly ~xecuted. by both Seller a11d Buyer. .Such
                       amendment may b.e transmitted by e-i:nail, facsimile, or othel.." .lllethod
                       permitt~d .bythy provi.sions .fqr. givi~g nqti,ce in this· C::ontract,

                (b.)   This. ·contract may be exec1,1ted ln a. nt!n1ber of identical counterparts.
                       ·which, taken together, shaH con.stitute: collevtively 'One agreem~nt; but in.
                        making pi'oof ·b.f this Contract,. it. shall not be :nece~sary ·:to produce o.r
                       account · for more. thafi one· such CQJmterpart,. .Adc;litio;najly, 0) the
                        signature pages taken. from separate ·ip.divid:uaUy executed, c.ounte.rpa,rfs of
                        this Contract may be cor;nbin.ed to form· mu}tipie fuHy-execuied
                        counterparts·; and (ii) a facsimil~ ·signature page or an ele.ctronically
                       .scanned sig)'lature page ·shall be de~med tq b~ ..a.n odginal sign~tur~ for·aU
                       .rutposes. All exec'(.lted =Counterparts. of thi's C01;itract ~h?11 be deemed. tq be.
                       ·odgirtals, but ~11 suqh co).H').terparts, when tak~n together; shall GOnstitute
                        one:·and the .same agreement.
         I 0..07-. Assignabiiitv. Buy€!r. m;1y ·s~ll. assign, or tr;:1nsfer .this Contract ·to a wholly
.owned entity of Buy~r wjthqut. the app~oval of Selle~. SeHer sha:ll not assign its rights· N'
·obligations to qny t.hird p~rty other than Sell~r's LendeG without priot w·ritteri conserit of Buyer.
and an.y purported m;sigm:q~nt ~hall b.i;: void an<:! witho.J.lt effeCt.                           ·




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        IN WITNESS WHEREOF, the Parties hereto have e_)\.e.cuted this Contrac.t irr mtiltipl~
copies; ea:ch o.f which shaH be deemed to be an original, on the dat:es s~t fmih belQ\\'.
SELLER(S):


                                    .DATE:._ _ _ __
CORR1E"LBA M. FEY

                                    _DATEt._·- - - - -
KELVIN H. KRAMM
                                     DA.tK:.
                                           -'------~

MICHAEL CKRAMM




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           Case 5:21-cv-01090 Document 1 Filed 11/08/21 Page 35 of 68




                           Title Company Receipts and Information


        'the.·undersjgn~d.Tit!e Compapy ·h~reby acknowledges. receipt.of ~-copy ofthis Contra,qt.

                                        T[TLE COMPANY:

                            NE"i BRA..UNFELS TITLE COMPANY

D.ate:----------------
 By: _ _ _ _ _ _ _ _ _ _ _ __
 Name: _________________________
·Trtte:
     ---------------------------
Address:      .243 S.Seguin Ave          .
               New. Braunfds, TX 78130
               (830)-625.:7553

        The. undersigned Title Company hereby acknowledges r~;ceipt ofth.e Em:ne~t:Money, and
agrees to hold and dispose of the Earnest· Money in accordE~ncir .with the provisions of. this
Contract.                                        ·.

N.;EW aRAu:NFElS TITLE CO.MPANY
bate.:.______________
.~X=------------­
Name:
Tttle; -------------------




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                                Case 5:21-cv-01090 Document 1 Filed 11/08/21 Page 36 of 68

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     'LJ" •<»       (>)                                  (   1845 SUBDIVISION )




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!", City of
~-.. New Braunfels
       PUBLIC WORKS




     November 5. 2020
     John McCltsh
     Brady & Hamilton Womack McClish
     1801 Lavaca, Suite 120
     Austin. TX 7870 1

            Re: Kramm Family- proposed 1845 Subdiv1s1on

     Dear Mr McClish:

            This •s 1n response to your letter dated October 13, 2020 concerning the removal of the
     County Line Road Minor Artenal from the City of New Braunfels Regional Transportation Plan
     and a rough propomonaltty analysis of the proposed 1845 Subdivision associated with the
     Kramm Fam1ly tract located on FM 1044. We also received your letter dated October 20, 2020
     amending the State law requ1red response from 14 days to 30 days

            The City utilized the profess1onal serv1ces of Jeff Whitacre, P.E. with Kimley-Horn and
     Assoc1ates. Inc to conduct a rough proport1onaltty analys1s of the proposed 1845 Subdiv1s1on
     Mr Whitacre is a Texas Registered Engineer. L1cense Number 102469. M1. Whitacre prepared
     the enclosed Techntcal Memorandum concludmg that the County Line Road Mmor Arterial
     nght-of-way dedication IS roughly proportionate to the proposed 1845 Subdivision as presented
     to the Crty of New Braunfels. The proposed s1te plan. land use, and 1ntens1ty were based on
     information prov1ded with the lener request and additional information provided by K.C.
     Engineenng, Inc. associated with a formal application recetved on October 22, 2020 to remove
     the County Line Road Minor Arterial from t he City of New Braunfels Regional Transportation
     Plan. You may appeal the analysis in accordance with the City of New Braunfels Code of
     Ordnances Section 118-13.

             Your letter states that a "plat" of the proposed subdivision with the proposed future
     roadway superimposed was attached: however. the exhibit provided with the request
     represents a preliminary site plan that does no1 comply w1th the City's zontng and platting
     requirements The tract IS currently zoned agncultural/pre-development (APDI and the smgle-
     family lots shown on the preliminary site plan don't appear to meet the mtnimum standards.
     The engineers for t he project are responsible to prepare plans, 1ncludmg a traffic impac1
     analysis, that conform to the provisions of local codes and ordinances 1nclud1ng plat ting
     requirements.
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                              r-
                              \,
Kramm Family- proposed 1845 Subdivision
November 5, 2020
Page 2




       The County Line Road Minor Arterial superimposed on the subject tract represents a
generalized location and is subject to modification to fit local conditions and subject to
refinement. Furthermore, the City is currently updating the Regional Transportation Plan and is
proposing to reduce the right-of-way requirements of a minor arterial from 120 feet to 100 feet
and may be applicable to the subject tract. This update is ongoing and planned for approval by
City Council in 2021. Furthermore, modifications to the site plan, zoning of the tract, and other
adjustments to the roadway network, drainage facilities, intersections, and access will allow for
various development scenarios. An additional rough proportionality analysis can be conducted
based on an alternate development plan.

        As noted above, we have received a formal application to remove the County Line Road
Minor Arterial from the Regional Transportation Plan. The request requires staff review and
local and state agency coordination to prepare a recommendation. The recommendation will be
presented to Planning Commission for a recommendation to City Council. City Council will
consider the recommendation and make a determinate on the thoroughfare. We anticipate this
process to take up to 90 days.

       We are willing to work with the Kramm family and engineers for the tract to fully
develop the site and meet the City's development requirements. Feel free to contact me if you
have any questions.

Sincerely,




Garry Ford, Jr., PE
Assistant Public Works Director/City Engineer

Enclosures

cc:    Christopher J. Looney, AICP, Planning and Development Services Director
       Greg A. Malatek, PE, Public Works Director
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     Kim ley>>> Horn

     TECl-I N ICAL MEMORAN DUM

     To:          Gan-y Ford. P E.
                  City Engineer
                  C'ity ofNe'' Braunfel!.
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     f-rom:       JeiTWhitacrc. P.E., AICP, PTP                                       'f ~-                            .....
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                  Kirnlcy-Horn and Associales, Inc.
                  TBPE Firm Number f--928                                                  '
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     Date:        November 4. 2020

     Subject: Kramm Family Rough Propor1ionalit)' Analysis
                  Cily ofNew Braunfels. Texas
     Purpose

     On October 13. 2020 the Cit) of New Braunfels (City) received a requcs1 for the
     City Engineer ro conduct a rotlgh proportional it) analysis for the Kramm family
     proposed 1845 Subdivision Under Sec1ion I 18-46 (b) (2) "'Wfll?l7el'l!r .r trac/lo
     be p/aut•d horden; f)n or embral.'I!J rmy part c~fun)' sfrel!t shown 011 the
     tfmrvughfcn·t! plan, such pari ofsuch proposed street shull he 'hown on the
     mMic:r plan or the plat. " J'he letter stated that::~ subdh ision plan wa:-.
     submitted 1hlll did not comply with the Thoroughfare Plan after a previous
     meeting was held outlining this reqnirement. Currently a subdivision plan has
     not been submitted that complies with the Subdivision Platting requirements.
     However. the memo request!> a proportionality analysis to be completed. ror a
     rough proportionality assessment. a compliant plan should be presented to make
     an accurate determination. rhis detemlination will be made on the currem
     submilled plan but should be revised once a compliant plan is submitted.

     The purpose ofihis memorandum                    i~   to provide a "'rough proportionality•·
     caJcularion of the submitted Kramm Family proposed 1845 Subdivision. For
     roads. the rough proportionality calculation is a comparison oflhc capacity
     provided by a development to the traffic impacts of the proposed development.

     Pr opor tionality Meth odology

     Traffic g,enonuion ofncw development impacts the area r0adway system by
     using available capacity . To measure system impacts. an analysis using vehicle-
     miles of travel in 1he PM peak hour was conducted. Using the vehicle-miles of
     travel (demand), the cost of the provided by roadway improvements (supply)
     can be compared with the cost oftral1ic generated b) a proposed development.




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     'lew Brllunfel>, Tcxns                                                                                   P3g~1
Case 5:21-cv-01090 Document 1 Filed 11/08/21 Page 40 of 68




     Kim ley>>> Horn

     Demand

     Based upon information provided by the City from a March 16,2020 Traffic
     Impact Analysis (TIA) worksheet (submitted after the October 13, 2020 letter)
     the Kramm Family proposed 1845 Subdivision will ultimately consist ofthe
     following land use and intensity:

         •     125 single-family detached housing
         •     18,000 square feet of commercial

     Based on the adopted 2019 Roadway Impact Fee Study the following are the
     vehicle-miles traveled generated by the proposed development:

         •     125 dwelling units* 4.61 vehicle-miles/dwelling unit
                   o 576.25 vehicle-miles
         •     18.0 1,000 square feet* 8.03 vehicle-miles/1,000 square feet
                   o 144.54 vehicle-miles

         TOTAL DEMAND: 650.04 vehicle-miles

     The cost per vehicle-mile indicated in the 2019 Roadway Impact Fee Study is
     $1,371 per vehicle mile in Service Area 5.

         •      720.79 vehicle-miles* $1,371/vehicle-mile

         TOTAL DEMAND: $988,203.09

     The total impact of the proposed development on the transportation network in
     the City ofNew Braunfels Service Area 5 is $988,203.09.

     Supply

     Based upon information provided by the City of New Braunfels and the
     applicant, the Kramm Family proposed 1845 Subdivision is requested to
     dedicate the right-of-way for the County Line Road minor arterial extension and
     potentially build two-lanes of the roadway to serve the proposed development.
     The current Thoroughfare Plan illustrates 120' of right-of-way for County Line
     Road extension the while a proposed amendment shows 100' of right-of-way.
     This would result in 4.861 (211,745 sq. ft.) acres or 5.819 acres (253,475 sq. ft).

     Based on the October 13, 2020 letter the land was approximately $1 per square
     foot, so the right-of-way request would be between $211,745- $253,475 which
     is below the demand calculated. Note Comal County Appraisal District shows a
     market value of $630,690 which is 63% of the value indicated in the October 13,
     2020letter.




     Kramm Family Rough Proportionality Analysis                              November 2020
     New Braunfels, Texas                                                            Page 2
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     Kim ley>>> Horn
     The remaining $734,728.09 ($988,203.09 -$253,475). would be available to the
     construction of the needed County Line Road extension to serve this
     development. An updated site plan would need to be completed to evaluate this
     requirement.

     Analysis

     Based on information provided by the applicant in the March 16, 2020
     preliminary drainage site plan, TIA worksheet and October 13, 2020 letter the
     request for right-of-way dedication ($253,475) is less than then demand of
     $988,203.09 and as a result is a roughly proportional request.

     It is anticipated that if the alignment was properly drawn three areas would be
     created, 15.437 acres, 4.523 acre tract, and 0.769 acre tract. The 0.769 acre tract
     is in the same location that was identified in the March 16, 2020 as a proposed
     water quality and detention pond and is anticipated could remain as such. The
     commercial tract could remain and the remaining residential areas would be to
     be revaluated.

     Conclusion

     Based on the current information the request of the Kramm Family proposed
     1845 Subdivision to dedicate right-of-way for the County Line Road minor
     arterial extension as requested is roughly proportionate to this development.

     This analysis should be updated based on a compliant site plan that considers
     this roadway based on the guidance that was previously provided.




     Kramm Family Rough Proportionality Analysis                            November 2020
     New Braunfels, Texas                                                          Page3
Case 5:21-cv-01090 Document 1 Filed 11/08/21 Page 42 of 68




    Kim ley>>>Horn
    TECHNICAL MEl"\10RANDUM
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    To:         Garry Ford, P.E.
                City Engineer
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                City ofNew Braunfels                             , .. :                                  .....J

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    From:       Jeff Whitacre, P.E., AICP, PTP                        f t -i:;\
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                Kim ley-Hom and Associates, lr1c.                           • ·· ··-~~
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                TBPE Finn Nw11ber F-928
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    Date:       November 4. 2020

    Subject: Kramm Family Rough Proportionality Analysis
             City ofNew Braunfels, Texas

    Purpose

    On October 13, 2020 the Ciry of New Braunfels (City) received a request for the
    City Engineer to conduct a rough proportionality analysis for the Kramm Family
    proposed 1845 Subdivision. Under Section 118-46 (b) (2) ··whene,·er a tract to
    be platted borders on or embraces any part of any street ~/town on the
    tltOroughfare plan, such parL of such proposed street silo// be ~hown on the
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    roads. the rough proportionality calculation is a comparison of the capacity
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    Propor tionality Methodology

    Traffic generation of new development impacts the area roadway system by
    using available capaciry. To measure system impacts, an analysis using vehicle-
    miles of travel in the PM peak hour was conducted. Using the vehicle-miles of
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    Kromm Family Rough Proponionality Annlys1s                                  November 2                      EXHIBIT
    New Bnwnfels. Texas                                                                P<r,

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    Kim ley>>> Horn

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    Kramm Family Rough Proportionality Analysis                              November 2020
    New Braunfels, Texas                                                            Page2
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    Kim ley>>> Horn
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    Kramm Family Rough Proportionality Analysis                            November 2020
    New Braunfels, Texas                                                          Page 3
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                                                                 PRELIMINARY OPINION OF
                                                             PROBABLE CONSTRUCTION COST FOR
                                                          MINOR ARTERIAL THROUGH KRAMM TRACT
                                                                  NEW BRAUNFELS, TEXAS



The Pay Item reference indicates the controlling specification for each Pay Item of K.C. Engineering, Inc.
Standard Specifications (3rd Edition). Pay Items containing a reference to TxDOT are from Texas                     Prepared By:
                                                                                                                    K.C. Engineering, Inc.- Firm Registration No. F-977
Department of Transporlation Standard Specifications for Construction and Maintenance of Highways,
Streets, and Bridges, 2014.


                                                                                                                          UNIT PRICE IN                  AMOUNT (Quantity x
      PAY ITEM                                    DESCRIPTION                                 QUANTITY       UNIT
                                                                                                                           NUMBERS                          Unit Price)


                                                                           GENERAL REQUIREMENTS


        010.16.1           SEQUENCE OF CONSTRUCTION                                                   1       LS    $                   10 000.00    $                    10 000.00


        010.16.2           FIELD ENGINEERING                                                          1       LS    $                   20 000.00    $                    20 000.00


        010.16.3           MOBILIZATION                                                               1       LS    $                   20 000.00    $                    20 000.00


        010.16.4           AS-BUILT DRAWINGS                                                          1       LS    $                    3 300.00    $                     3 300.00


  GEN. COND. ART. 5        BONDS AND INSURANCE                                                        1       LS    $                   10 000.00    $                    10 000.00


                                                                     TOTAL GENERAL REQUIREMENTS                      $                                               63 300.00

                                                                          ROADWAY IMPROVEMENTS


         102.4.2           CLEARING AND GRUBBING                                                      22     STA     $                     500.00    $                    11 000.00


     TxDOT 260.6.2         LIME TREATMENT 16")                                                     9 840      SY     $                        3.00   $                    29 520.00


         106.4.1           SUBGRADE PREPARATION (6")                                               9 840      SY     $                        3.00   $                    29 520.00


         200.5.1           EXCAVATION                                                              3 280      CY     $                        9.00   $                    29 520.00


         220.4.1           EMBANKMENT                                                                1640     CY     $                        6.00   $                      9 840.00


         240.6.1           FLEXIBLE BASE 12" DEPTH DENSITY CONTROLLED                                2 590    CY     $                       45.00   $                    116 550.00


       TxDOT 315           PRIME COAT IMC-30 OR AE-Pl                                                8 640    SY     $                        1.00   $                      8 640.00


         330.5.1           CONCRETE CURB AND GUTTER                                                  4,320    LF     $                       15.00   $                     64,800.00


       TxDOT 531           CONCRETE SIDEWALKS (5' WIDTH, 4" DEPTH)                                   2,160    LF     $                       25.00   $                     54,000.00


          410.12           HOT MIX (TYPE C) (TxDOT ITEM 340)                                         8,640    SY     $                       12.00   $                    103,680.00


                                                                           TOTAL ROADWAY IMPROVEMENTS $                                                              457 070.00




                                                                                                                                                                   K.C. ENGINEERING, INC.
                                                                                         Page1 of3                                                                    FIRM REG. NO.: F-977
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                                                                     PRELIMINARY OPINION OF
                                                                PROBABLE CONSTRUCTION COST FOR
                                                              MINOR ARTERIAL THROUGH KRAMM TRACT
                                                                      NEW BRAUNFELS, TEXAS



    The Pay Item reference indicates the controlling specification for each Pay Item of K.C. Engineering, Inc.
    Standard Specifications (3rd Edition). Pay Items containing a reference to TxDOT are from Texas                      Prepared By:
    Department of Transportation Standard Specifications for Construction and Maintenance of Highways,                   K.C. Engineering, Inc.· Firm Registration No. F-977
    Streets, and Bridges, 2014.


                                                                                                                                 UNIT PRICE IN                 AMOUNT (Quantity x
            PAY ITEM                                  DESCRIPTION                                 QUANTITY        UNIT
                                                                                                                                  NUMBERS                         Unit Price)


                                                                              DRAINAGE IMPROVEMENTS


             600.5.1           PIPE RCP CLASS Ill STORM SEWER MAIN- 24"                                1100        LF    $                       75.00     $                   82 500.00



             600.5.1           PIPE RCP CLASS Ill STORM SEWER MAIN LATERAL- 18"                            176     LF    $                       65.00     $                   11 440.00



             625.7.1           CONCRETE JUNCTION BOX                                                       8       EA    $                    4 000.00     $                   32 000.00



            TxDOT 496          10' CURB INLET                                                              8       EA    $                    5 000.00     $                   40 000.00


             1100.9.1          TRENCH SAFETY ALL DEPTHS                                                1276        LF    $                        2.00     $                    2 552.00


                                                                               TOTAL DRAINAGE IMPROVEMENTS $                                                             168 492.00

                                                                       SIGNS STRIPING & TRAFFIC CONTROL


            TxDOT 502          BARRICADES SIGNS AND TRAFFIC HANDLING                                        1      LS     $                  10 000.00     $                   10 000.00


                               INSTALL SMALL ROADSIDE SIGN, SUPPORTS, AND
            TxDOT644           ASSEMBLIES                                                                   5      EA     $                     600.00     $                    3 000.00



            TxDOT 666          REFL PAV MRK TY I (Y) 4" (SLD) (100 MIL)                                4320        LF     $                        1.00    $                    4 320.00



            TxDOT 666          REFL PAV MRK TY IIYl 4" IBRKl 1100 MILl                                     540     LF     $                        1.00    $                      540.00



            TxDOT 672          REFL PAV MRK TY 11-A-A                                                      54      EA     $                        5.00    $                      270.00


                                                                TOTAL SIGNS STRIPING & TRAFFIC CONTROL $                                                                   18 130.00

                                                                     EROSION AND SEDIMENTATION CONTROL


              900.5.1          SILT FENCE                                                                  900     LF     $                        2.50    $                     2 250.00


              900.5.1          SILT FENCE- REMOVE                                                          900     LF     $                        1.00        $                  900.00


              905.5.1          CONCRETE WASHOUTS                                                            1      LS        $                 1 000.00        $                 1000.00


              910.8.1          REVEGETATION (TOPSOIL AND SEEDING)                                          3600    SY        $                      3.00       $                10 800.00


              920.3.1          ROCK FILTER DAM TYPE 2                                                       40      LF       $                    30.00        $                 1 200.00


              920.3.1          ROCK FILTER DAM TYPE 2- REMOVE                                               40      LF       $                     10.00       $                   400.00


                                                             TOTAL EROSION AND SEDIMENTATION CONTROL $                                                                         16 550.00




19-150                                                                                                                                                                   K.C. ENGINEERING, INC.
6/22/2021                                                                                    Page 2 of 3                                                                    FIRM REG. NO.: F-977
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                                                                         PRELIMINARY OPINION OF
                                                                     PROBABLE CONSTRUCTION COST FOR
                                                                  MINOR ARTERIAL THROUGH KRAMM TRACT
                                                                          NEW BRAUNFELS, TEXAS



     The Pay Item reference indicates the controlling specification for each Pay Item of K.C. Engineering, Inc.
     Standard Specifications (3rd Edition). Pay Items containing a reference to TxDOT are from Texas                                      Prepared By:
     Department of Transportation Standard Specifications for Construction and Maintenance of Highways,                                   K.C. Engineering, Inc. - Firm Registration No. F-977
     Streets, and Bridges, 2014.



            PAY ITEM
                                I                        DESCRIPTION                                  I   QUANTITY            I   UNIT
                                                                                                                                                 UNIT PRICE IN
                                                                                                                                                  NUMBERS                 1       AMOUNT (Quantity x
                                                                                                                                                                                     Unit Price)


                                                                                MISCELLANEOUS WORK ITEMS


             750.10.1           ILOCATING EXISTING UNDERGROUND FACILITIES                             I          1            I    LS      $                      5 000.00   I$                       5 000.00


                                                                              TOTAL MISCELLANEOUS WORK ITEMS $                                                                                      5 000.00




                                             TOTAL BID ITOTAL OF ITEMS IN THE COLUMNS ABOVE\                                               $                                                     728 542.00


                                                                                            CONTINGENCY 1-10%)                             $                                                      72 858.00


                                             TOTAL BID (TOTAL OF ITEMS IN THE COLUMNS ABOVE\                                               $                                                     801 400.00




     The unit prices contained herein are based upon recent availiable                                                                The unit prices contained herein are based upon the judgment of K.C.
                                                                            This document is released for the purposes
     bidding data from TxDOT's Average Low Bid Unit Price for the                                                                   Engineering, Inc. (KCE) As such, these prices may not accurately reflect
                                                                              of interim review under the authority of
     Austin District, other bid histories, other information, and the                                                             future bid prices because bidding trends change and opinions of probable
                                                                                   Greg Haley, P.E. 52292 on                           cost reflect prior bidding history. KCE cannot and does not warrant or
     opinions of the preparer. As such, these prices may not accurately
     reflect future bid prices because bidding trends change and opinions                   June 22, 2021                           represent that bids or negotiated prices will not vary from an estimate of
     of probable cost reflect prior bidding history.                        It is not to be used for construction, bidding,                     construction cost or evaluation prepared or agreed to by KCE
                                                                                 permitting or for any other purposes.




19·150                                                                                                                                                                                          K.C. ENGINEERING. INC.
6/22/2021                                                                                          Page 3 of 3                                                                                     FIRM REG. NO.: f.977
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~J City of                           CITY OF NEW BRAUNFELS, TEXAS
~      New Braunfels                      CITY COUNCIL MEETING

                                      CITY HALL - COUNCIL CHAMBERS
                                            550 LANDA STREET

                                     MONDAY, JUNE 28, 2021 at 6:00 PM

Rusty Brockman , Mayor                    Lawrence Spradley, Councilmember (District 4)
Shane Hines, Counciltnember (District 1)     Jason E. Hurta, Councilmember (District 5)
Justin Meadows, Mayor ProTem (District 2)     James Blakey, Councilmember (District 6)
Harry Bowers, Councilmember (District 3)               Robert Camarena, City Manager

                              Please click the link below to join the webinar:
                      https:l/us02web.zoom.us/j/89332004990 or call (833) 926-2300
                                        Webinar ID: 893 3200 4990
                                                    AGENDA

CALL TO ORDER

CALL OF ROLL: CITY SECRETARY

REQUEST  ALL   PHONES   AND                       OTHER     DEVICES    BE     TURNED          OFF,             EXCEPT
EMERGENCY ON-CALL PERSONNEL.

INVOCATION: HINES

PLEDGE OF ALLEGIANCE & SALUTE TO THE TEXAS FLAG

PROCLAMATIONS:
          A)        The lnternationa'l Year of Caves and Karst                                 21-616

CITIZENS' COMMUNICATIONS

This time is for citizens to address the City Council on issues and items of concerns not on this
agenda. There will be no City Council action at this time .

PRESENTATIONS:
          A)        Notice     of   July   14th   Meeting   for   Public   Outreach      for 21-588
                    Development of the FY 2022 Street Maintenance Plan.
                     Greg Malatek, Public Works Director

1.        MINUTES
          A)        Discuss and consider approval of the minutes of the City 21-61 3
                    Council meeting of June 14, and the Executive Session
                    meeting of June 14.

                                                                                                                 EXHIBIT
Citv Qt New Br.umfels. Texas                                                          Pos ted On. 612   ...,

                                                                                                        I          E
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                                                                                                        City Council Agenda
                                                                                                               June 28, 2021



                        Caitlin !<robot

2.       CONSENT AGENDA

All items listed below are considered to be routine and non-controversial by the City Council
and will be approved by one motion. There will be no separate discussion of these items
unless a Councilmember or citizen so requests, in which case the item will be removed from
the consent agenda and considered as part of the normal order of business.

                                                     Resolutions & Action Items
         A)             Approval of an amendment to an existing Memorandum 21-586
                        of Understanding between the City and New Braunfels
                        Utilities (NBU) for the for the payment of funds to NBU
                        for a temporary, part-time Watershed Educator position
                        at the Headwaters at the Coma I.
                       Mark Enders, Watershed Program Manager

         B)            Approval of the City of New Braunfels FY 2021 Second 21-525
                       Quarter Investment Report.
                        Sanely Paulos, Assistant Chief Financial Officer
         C)            Approval   for    a   purchase    through  Siddons-Martin 21-626
                       Emergency Group, LLC for a new stock fire engine built
                       by Pierce Manufacturing for an amount not to exceed
                       $725,000 and the appropriate budget amendment.
                       Patrick O'Connell, Fire Chief

                                                            Ordinances
                                 (In accordance wjth Section 3. 10 of the City Charter, a descriptive
                                   caption of each ordinance shall be read on two separateI
                                                                                             days.)
         D)             First reading of an ordinance regarding the requested 21-574
                        abandonment of a 0.366-acre portion of Tolle Street
                        Right-of-Way, located between South Gilbert Avenue
                        and the terminus of Tolle Street.
                        Christopher J. Looney , AICP; Planning and Development Services Director

         E)            Approval of the second and final reading of an ordinance 21-614
                       establishing     the  number        of positions in each
                       classification in the New Braunfels Fire Department and
                       Police Department pursuant to Local Government Code,
                       Chapter 143 as well as an increase to FY 2021 Adopted
                       Budget authorized position listing.
                        Robert Camarena, City Manager
         F)            Approval           of   the    second      reading     of    an    ordinance 21-633
Citvor New   Broum>~.l.s.   Teltas
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                                                                                                  City Council Agenda
                                                                                                         June 28, 2021



                      providing the right to New Braunfels Utilities Board of
                      Trustees Members to waive annual compens~tion and to
                      revoke such waiver and reinstate annual compensation
                      at any time.
                     Ian Taylor, chief Executive Offi cer, New Braunfels Utilities (NBU)

3.        INDIVIDUAL ITEMS FOR CONSIDERATION
          A)          Public hearing and first reading of an ordinance 21 -570
                      regarding the proposed rezoning of Lot 15 and a portion
                      of Lot 14, Block A, Guada Coma Subdivision, addressed
                      at 46 Guada Coma Drive, from "R-1A-6.6" Single-family
                      District to "R-2A" Single-family and Two-family District.
                      Christopher J. Looney. AICP; Plruming and Development Services Director

          B)          Public hearing and first reading of an ordinance 21-571
                      regarding a proposed rezoning of approximately 60.1
                      acres out of the J. Thompson Survey, A-608 and William
                      H. Pate Survey. A-259 located east of the intersection of
                                                                         11
                      FM      1044 and      Michelson    Lane,   from       APD "
                      Agricultural/Pre-Development District to "ZH-A" Zero Lot
                      Line Home District.
                      Christopher J. Looney, AICP, Planning and Development Services Director

          C)          Public hearing and first reading of an ordinance 21-573
                      regarding a proposed rezoning to apply a Type 2 Special
                      Use Permit to adopt a site plan and establish
                      development     standards  for   an   RV     Resort   on
                      approximately 29 acres consisting of Lot 1D-R Walnut
                      Heights Subdivision and approximately 25 acres out of
                      the J. M. Veramendi A-2 Survey, located in the 700 block
                      of N. Walnut Avenue.
                      Christopher J. Looney, AICP; Planning and Development Services Director

          D)          Public hearing and first reading of an ordinance to revise 21-575
                      sections 144 -1.3, Definitions, to define efficiency/studio
                      a,partments, and 144-5.1-3 Schedule of Required Spaces
                      to    identify parking    standards   for  efficiency/studio
                      apartments.
                      Jean Drew, AICP, CNU-A, Plan ning and Developm ent Services Assistant Director

           E)         Discuss and consider approval of a resolution of the City 21-628
                      of New Braunfels, Texas consenting to the creation of
                      Comal County Water Improvement District Number 3,
Cltil of Naw Braunfels. Taxes:                                                             PG!!:rvd On   fi<7.l20}f S:!lS 02PM
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                                                                                                   City Council Agenda
                                                                                                          June 28, 2021



                     located In the City's extraterritorial jurisdiction.
                     Jeff Jewell, F!conomic and Community Development Director

          F)         Discuss and consider adoption of the Development 21 -629
                     Agreement and associated exhibits for Carnal County
                     Water Improvement District Number 3, which is in the
                     Extraterritorial Jurisdiction of the City
                     Jeff Jewell, Ecooom1c and Comm unity Development Director

          G)         Discuss and possible action of a sponsorship program 21-603
                     for the new Westside Branch of the New Braunfels
                     Public Library.
                     Gretchen Pruett, Library Director

          H)         Second public hearing and possible direction to staff 21-605
                     regarding the U.S. Department of Housing and Urban
                     Development      Community    Development    Block   Grant
                     Annual    Action   Plan    and   its  associated   funding
                     recommendations for Program Year 2021 .
                     Jennifer Gates, Grants Coordinator

          I)         Public Hearing and the first reading of an Ordinance of 21-615
                     the City Council of the City of New Braunfels, Texas
                     Amending the Project Plan and Reinvestment Zone
                     Financing Plan for the Reinvestment Zone Number One,
                     City of New Braunfels, Texas; Approving a Second
                     Amendment to the Economic Development Agreement
                     Between the City of New Braunfels, Texas and A-L 95
                     Creekside Town Center, L.P.; and Other Matters in
                     Connection Therewith
                     Jared Wem er, ChiefFinancial Officer

          J)         Discuss and consider a waiver from Section 118-49(a) of 21-579
                     the Subdivision Platting Ordinance to allow an alternative
                     pedestrian access plan adjacent to existing Zipp Road
                     for the Highland Ridge Subdivision.
                     Christopher J. Looney, AICP; P lanning and P evelopment Services Director

          K)         Public hearing and first reading of an ordinance 21-572
                     regarding a proposed rezoning to apply a Special Use
                     Permit to allow short term rental of a single-family
                     dwelling in the "C-3" Commercial District, addressed at
                     218 South Peach Avenue.
                     Cltristopher J. Looney, AICP, Planni:ug and Development Services Director

Cttv ot New BraunfP.Is. Texas                                                               Po.•ted On: 61'1.31202 t 3:.35:02PM
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                                                                                            City Council Agenda
                                                                                                   June 28, 2021



          L)         Discuss and consider a resolution to remove a segment 21-544
                     of the Minor Arterial identified in the City of New
                     Braunfels Thoroughfare Plan that is the future extension
                     of County Line Road from FM 1044 to Engel Road
                     associated with the proposed 1845 Subdivision located
                     at 1890 FM 1044.
                     Garry Ford, Assistant Public Works Director/City Engineer

          M)        Appeal hearing for relief from apportionment of municipal 21-425
                    infrastructure costs associated with the proposed 1845
                    Subdivision located at 1890 FM 1044.
                     Garry Ford, Jr., Assistant Public Works Director/City Engineer

NOTE: The City Council reserves the right to retire into executive session concerning any of
the items listed on this Agenda whenever it is considered necessary and legally justified under
the Open Meetings Act (Chapter 551 of the Texas Government Code).

ADJOURNMENT

                                                    CERTIFICATION

I hereby certify the above Notice of Meeting was posted on the bulletin board at the New
Braunfels City Hall.




Caitlin Krobot, City Secretary

NOTE: Persons with disabilities who plan to attend this meeting and who may need auxiliary aids
or services such as interpreters for persons who are deaf or hearing impaired, readers, or large
print, are requested to contact the City Secretary's Office at 221-4010 at least two (2) work days
prior to the meeting so that appropriate arrangements can be made.




City of New Braunfels, Texas                             Page5                        Posted On: 612312021 3:35:02PM
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                           City of New Braunfels, Texas

                                             550 LANDA STREET




                                          r' :., City of
                                          ~-.New Braunfels




                                                 Minutes

                                         Monday, July 26, 2021
                                                   6:00PM


                                             City Council
                                      Rus(p Brocl1num, Mayor- present
                              Shane Hines, Cou ncilmember (District J) -present
                            Jnstin Meado111s, Mayor Pl'o Tem (District 2)- present
                             Hnn:v .B(Jlvers~ Councilmem(Jer (District 3)- present
                          Lawrence Spradley, Councifmember (District 4) - present
                              Jason HllrtaJ Councilmember (District 5)- present
                        Jrtmes Blakey, Cou ncilmembe~· (Di$'it'ict 6) - e..vcused absettce

The meeting was called to order by Mayor Brockman at 6:00p.m. Councilmember Hines gave the
invocation and Mayor Broclanan led the Pledge of Allegiance and Salute to the Texas Flag.

CITIZENS' COMMUNICATIONS

This time is for citizens to adcll'ess the City Council on issues and items of concerns
not on th is agenda. There will be no City Council action at this time.

Easton Smith, Ryan Garcia, Wayne Rudolph, Pam Timmerman, David Gonzalez, and Jim Holster
spoke during Citizens Comments.
Monday , July 26, ~021 New Braunfels City Council Regu lar Meeting                           EXHIBIT
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PRESENTATIONS:

        /\)      Retiree Recognition- Jose Castil lo

Mayor B r ockm au read the aforem en tion ed caption.

Mil<e M undell gave a moving tribute to J ose Castillo and gifted bim with a persona lized sign .

        B)       Presentation regard ing proposed amendments to the City ofNew Braunfels Drainage
                 and Erosion Control Manual and the Code of Ordinances, Chapter 58, rloods.

Mayor Bt·ockmau read the aforem ention ed caption.

Melissa R eynolds presented this item.

The following individua ls spol<e on th is item : William Rogers, a nd Ryan Garcia.


1.      MINUTES

       A)        Discuss and consider approval of minutes of the City Counci l meeting of .!uly 12, 202J
                 and the Executive Session of July 12, 2021.

Mayor Br oclcma n read the aforementioned captio n.

Cou ncilmem bet· H in es moved to a p prove this item.   Councilm em ber Bowen; seconded the motion
wh ich passed una nimous ly via roll call vote.

2.     CONSENT AGENDA


All items listed below are considered to be routine and non-controversial by the
City Council and will be approved by one motion. There will be no separate
discussion of these items unless a Councilmember or citizen so requests, in which
case the item will be removed from the consent agenda and considered as part of
the normal order of business. Citizens must be present to pull an item.
                                   Resolutions & Action Items

       A)        Approval of the Mayora.l appointment offrancisco Dionisio and Cheryl Denton and
                 rcappoihtmcnt ofNathan Manlove and Mary Irwin to the New Braunfels Partnership
                 Committee for terms ending August I, 2024.

        B)       Approval of the Mayoral appointment of Jacob Yaklin and reappointment of John
                 Malik and Tobin Hoffmann lo the Reinvestment Zone No. 1 (T(RZ) Board of Directors
                 and the New Braunfels Development Authority for terms ending May 29, 2023.


Monday, July 26, 2021 New Braunfels City Council Regular Meeting
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       C)       Approval oflhe Mayoral appointment of Tobin Hoffmann as the Chair of the
                Reinvestment Zone No. I (TlRZ) Board of DiJ·ectors and lhe New Braunfels
                Development Authority.
       D)       Approval of an annual softwa re maintenance renewal for Cityworks PLL th rough SHI.


       E)       Approval of the purchase of power system units through GTS. Inc. lo support-the
                networking and computjng equipment in Fire Station 2, Fire Station 3 and lhe Police
                Department Headquarters.


       F)       Approval of a lease agreement with Ricoh USA for the Citywide rental and services of
                multi-function copier devices through a Blly Board cooperative agreement.

       G)        Approval of and aathoriz~tion for the City Manager to execute an amendment to lease
                ag1•eement between the City ofNew Braunfels and Connections lndivjdual and Family
                Services, Inc relating to the pwperty located at 705 Comal Avenue.


       H)      Discuss and consider approval for the City Manager to enter into a professional services
               agreement with Freese & Nichols, Inc. to update the City ofNew Braunfels Capital
               lmprovement Plan.

       J)      Approval for the purchase of pursuit vehicles from Caldwell Counly Chevrolet for tl1e
               Department and approval to declare replaced units as surplus.
                                       Ordinances
            (In accordance with Section 3. 10 of the City Charter. a descriptive
              caption of each ordinance shelf be read on two separate days.)

       J)       Approval of the second and final reading of an ordinance arnending Section 126-346 of
                the City of New Bra unfels Code of Ordinances to restrict parking around the landscaped
                islands on the outside edges of Main Plaza.


       K)       Approval of the second and final reading ofan ordinance amending Scctionl26-136
                and Section 126-137 of the City of New Braunfels Code of Ordinances to create school
                speed zones on West KJein Road and South Walnut Avenue, respectively.

Mayo1· Brockma n read the aforcm~ntioncd consent it'ems.

CounciJmem ber Bowers moved to approve the consent ageJtda. Councilm cm ber H urta seconded
the motion which passed unanimous ly v ia roll call vote.


3.     INDIVIDUAL ITEMS FOR CONSIDERATION

       A)         Oiscuss and Consider a Resolution Adoptjng a Tax fncrernenl Financing Policy
Monday , July 26, 2021 New Braunfels City Cou ncil Regular Meeting
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Mayor Bt·odonan r ead the a for ementioned caption.

Jeff Jewell pres<ln ted this item.

The following individtutls spoke on this item:     William Rogers, Lorie Schrank, and Ryan Ga rcia.

Mayor ProTem Meadows moved to a pprove this item. Councilm ember Hurta seconded tl1e
motion which passed unanimously via roll ca ll vote.

        B)       Discuss and consider changes to the Bylaws of the Workforce Housing Advisory
            Committee
Mayor Brockman stated Item B hau been pulled.


Mayor Brocl<map too k a brea l<at7:25 p.m. and rctumed into session at 7:35p.m.

        C)       Discuss and consider approval of the appointment of one individual to the Airport
                 Advisory Board for an unexpired term ending 5/12/2022.

Mayor Broclcman read tlte aforemention ed caption.

Caitlin Krobot presented this item.

C ouncilmember Hines moved to appoint Travis K rug to the unexpired f·erm 011 t he Air port
Ad visory Committee. Co uncilmember Bowers seconded tl1e m otion w hich was passed
unanimously 'da roll call vote.

        D)       Render decision on the petition for relief from app01tionment of municipal
                 infrastructure costs associated wilh the proposed 1845 Subdivision located at 1890 PM
                 1044 .

Mayor Brocl<man reud the afo n~m entioned caption.

Garry Ford presented this item.

Mayo•· ProTem Meadows move to approve this item with staff recommendations.
Councilmember llurta seconded the motion whic h passed unanimously via roll call vote.

        E)       Public hearing and first reading of an ordinance regarding a proposed rezoning of
                 approximately 2.0 acres out oflhe Orilla Russell Survey No.2, A-485 addressed at
                 696 Orion Drive. from "APD AH" Agricultural/Pre-Development, Airport Hazard
                 Overlay District to "ZH-A Al-l" Zero Lot Line llome. Airport Hazard Overlay District.

Mayo•· Broclcman read the aforementioned caption.

Chr·istophcr L ooney p resented this item.

T11e following individuals spol<e t o this item:   .Tames Inga lls, Rex Michie, aod Ryan Garcia.

Councilmember Hurta moved to approve this item. Councilmember Sprad ley seconded t he
motion wbich passed unanim ously via r·oll ca ll vole.

Monday, July 26, 2021 New Braunfels City Council Regular Meeting
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                F)          Public hearing and first reading of an ordinance regarding the proposed rezoning of
                            approximately l05 acres out ofU1e /\. M. Esnaurizar A-20 Survey, addressed at 1621
                            FM 758, from ''APD AH'' Agricultural/Pre-De-velopment, Airport Hazard Overlay
                            Dislricllo "Zl-J-A AH" Zero Lol Line, Airporl Hazard OverlAy District.

       Mayor :Brockman read the aforementioned captiou.

       J ean Drew p resented this item.

       The following indivW ua ls spoke to this item:      Car olyn McDonald , Matt Geistweist, Karen Davis,
      T iffa ny Brown, Nicole Zuniga, and Pam T immerman.

       Mayor .ProTem Meadows moved to a pprove this item. Councilmember Hines seconded t he
       motion which passed unanimously via roll ca ll vote.

      4.        EXECUTIVE SESSfONS

      In accordance with Texas Government Code, Subchapter D, the City Council may
      convene in a closed session to discuss any of the following items; any fina l action or
      vote taken will be in public.

                A)          Deliberate pend in g/contemplated litigation, settlement offer(s), and matters
                            concerning privileged and unprivileged clien t information deemed confidential
I'   I1 I   •   •    •      by Rule 1.05·of lhe Texas Disciplinary Rules o·f Professional Conduct in
                            accordance with Section 551.071, of the Texas Government Code, specifically:
                               • House Bill 1520                       ·

      NOTE: The City Council reserves the right to retire into executive session
      concerning any of the items listed on this Agenda whenever it is considered
      necessary and legally justified under the Open Meetings Act (Chapter 551 of the
      Texas Government Code).
       5.       RECON VENE INTO OPEN SESSION AND TAKE ANY NECESSARY
                ACTION RELATING TO THE EXECUTIVE SESSION AS DESCRIBED
                ABOVE.

       No action was taken at this time.


      ADJOURNMENT

       Mayor Brockman adjourned at 8:33p.m.




       Monday, July 26, 2021 New Braunfels City Council Reg ular Meeting
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Caitlin Krobot, City Secretary




                                                                         ' ·.   l


                                                                         j'




Monday, July 26, 2021 New Braunfels City Coun cil Regular Meeting
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      EXHIBIT “B”
                                    Case 5:21-cv-01090 Document 1 Filed 11/08/21 Page 60 of 68
                                                                                                                             CEIVED
                                                                                                                        OCT 0 7 2021


                                                                    CITATION BY MAILING
                                                                     THE STATE OF TEXAS
                                                                   CAUSE NO. C2021-1371A

            TO: RUSTY BROCKMAN
            The City of New Braunfels, Texas
            550 Landa Street
            New Braunfels TX 78130

            NOTICE TO RESPONDENT: "You have been sued. You may employ an attorney. If you or your attorney do not file a written answer
            with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of twenty (20) days after you were
            served this citation and ORIGINAL Petition, a default may be taken against you. In addition to filing a written answer with the clerk,
            you may be required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later
            than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp .org". A copy of petition accompanies the
            citation in cause number: C2021-1371A styled:

                                                   Corrie Lea M. Fey; Kelvin H. Kramm; Michael C. Kramm
                                                                               vs.
                                                             THE CITY OF NEW BRAUNFELS, TEXAS

            filed in said 22nd District Court on the 25th day of August, 2021 day of.

            Issued and given under my hand and seal of said court at office, this day of 5th day of October, 2021 A.D.

                                                                                               HEATHER N. KELLAR
                                                                                               DISTRICT CLERK OF COMAL COUNTY, TEXAS
                                                                                                199 Main Plaza, Suite 2063
                                                                                               NEW BRAUNFELS, TEXAS 78130



                                                                            BY:_-----"j.'---&t-~_l_Q-HC£'---------''Deputy
                                                                                               Sarah Abrego



                                                                        CERTIFICATE OF DELIVERY BY MAIL



                     ATIACH
                                                                          I Date Signed                   I ByWhom
                 RETURN RECEIPT
                      WITH
                  ADDRESSEE'S                             AS EVIDENCED BY THE SIGNED RETURN RECEIPT ATIACHED HERETO AND
                   SIGNATURE                              INCORPORATED IN THE RETURN.
                                                          NOT EXECUTED AS TO THE FOLLOWING REASON:
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                    8516 96
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                                                          e"':~ BYHEATHE~;ICTCLERK
Exhibit B




                                                                                                                             , DEPUTY
                                                                  ~                     Sarah Abrego
            FEE:$ _ _ _ __

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      EXHIBIT “C”
                                               Case 5:21-cv-01090 Document 1 Filed 11/08/21 Page 62 of 68

    My Services                                                        ~-' Profile ~ jiJ¥1 Guide [ -+ExP._ort

               Equipment                Reports                    Tracking                  Supplies
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Status History ?                                                                                                 HEATHER N. KELLAR
                                                                                                                  CLERK DISTRICT COURT
                                                                                                                  C~f COUNTY. TEXAS
•      Tracking Number Information                                                                               BY.    ~        DEPUTY



    Meter:                   12203431                         Mailing Date:        10/05/21 02:29PM
    Tracking Number:         9171969009350235851696           Sender:             ~""De C2021-1371A
    Current Status:          OK : Delivered                   Recipient:
    Class of Mail            FC                               Zip Code:           78130
    Service:                 ERR                              City:               CANYON LAKE
    Value                    $2.960                           State:              TX



                                                                                            Proof of Deliverv.




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•      Status Details
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Wed, 10/06/21, 05:23 :00 PM                     Processed (processing scan)
 ue, 10/05/21, 10:01 :00 PM                     Dispatched from Sort Facility
 ue, 10/05/21, 08:03 :00 PM                     Processed (processing scan)
 ue, 10/05/21, 06 :48:00 PM                     Origin Acceptance
 ue, 10/05/21, 06 :27:00 PM                     OK : USPS acknowledges reception of info
 Note: Delivery status updates are processed   throughout the day and posted upon receipt from the Postal
 Service .
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     EXHIBIT “D”
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                                                                               C2021-1371A
                                                                               11/1/2021 12:00 AM
                                                                               Heather N. Kellar
                                                                               Comal County
                                                                               District Clerk
                                   CAUSE NO. C2021-1371A                       Accepted By:
                                                                               Sarah Abrego
CORRIE LEA M. FEY,                            §       IN THE DISTRICT COURT OF
KELVIN H. KRAMM, and                          §
MICHAEL C. KRAMM,                             §
                                              §
               Plaintiffs,                    §
                                              §       COMAL COUNTY, TEXAS
v.                                            §
                                              §
THE CITY OF NEW BRAUNFELS,                    §
TEXAS,                                        §
                                              §
               Defendant.                     §       22nd JUDICIAL DISTRICT


                              DEFENDANT’S ORIGINAL ANSWER

TO THE HONORABLE DISTRICT COURT:

       Now comes the City of New Braunfels, Texas (the City), Defendant in this case, and files

this original answer to Plaintiffs Corrie Lea M. Fey, Kelvin H. Kramm, and Michael C. Kramm’s

original petition. In support of this answer, the City states the following:

                                    1. GENERAL DENIAL

       1.01.   In accordance with Rule 92 of the Texas Rules of Civil Procedure, the City exercises

its legal right to require Plaintiffs to prove all of the allegations contained in their pleading.

Accordingly, Defendant generally denies the allegations of Plaintiffs’ pleading and demands strict

proof of the allegations by a preponderance of the credible evidence.

                                 2. AFFIRMATIVE DEFENSES

       2.01. Pursuant to Rule 94 of the Texas Rules of Civil Procedure, the City asserts and

affirmatively pleads that it is absolutely immune from liability to Plaintiffs under the common law

doctrine of sovereign or governmental immunity, as partially waived by the Texas Tort Claims Act,

Chapter 101of the Texas Civil Practice & Remedies Code, to the extent applicable.



Defendant’s Original Answer                                                                Page 1

                                           Exhibit D
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        2.02. Pursuant to Rule 94 of the Texas Rules of Civil Procedure, the City asserts that: (1) there

is a legitimate governmental purpose to support the imposition of the complained-of condition; (2)

there is an essential nexus between the legitimate governmental interest and the condition; and (3)

there is rough proportionality between the condition imposed and the impacts of the proposed

development.

        2.03. Pursuant to Rule 94 of the Texas Rules of Civil Procedure, the City asserts and

affirmatively pleads that if Plaintiffs prevail on any exaction claim under Nollan and Dolan any

damages award (i.e., costs determined in excess of what is roughly proportional) must be offset by

the amount of any special benefit the complained-of required dedication or improvements (i.e., any

amount the improvement or dedication will enhance the fair market value of Plaintiff’s property).

Town of Flower Mound v. Stafford Estates, L.P., 71 S.W.3d 18, 46 (Tex. App.—Fort Worth 2002),

aff’d, 135 S.W.3d 620 (Tex. 2004).

                                       3. SPECIFIC DENIAL

        3.01. Plaintiffs allege the City’s actions violate the Texas Private Real Property Rights

Preservation Act. This act does not apply is this case because the subject property is located within

the City’s boundaries. Tex. Gov’t Code Ann. § 2007.003(a)(3), (b)(1) (West).

                                             4. PRAYER

        4.01. For the reasons stated, the City requests Plaintiffs take nothing by reason of their

suit, and that costs of court be taxed against Plaintiffs.




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                                     Respectfully submitted,

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                                     Phone: 210-510-4146
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                                     William M. “Mick” McKamie
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                                     ATTORNEYS FOR DEFENDANT,
                                     THE CITY OF NEW BRAUNFELS, TEXAS




Defendant’s Original Answer                                                 Page 3
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                               CERTIFICATE OF SERVICE

       A true and correct copy of the above and foregoing answer has been served on the following
counsel of record for Plaintiffs through the electronic filing manager and by email in accordance
with Rule 21a(a)(1) or (2) the Texas Rules of Civil Procedure on this 31st day of October 2021.

John McClish
email: john@bhlawgroup.com
Zachary S. Brady
email: zach@bhlawgroup.com
Laura W. Pratt
email: laura@bhlawgroup.com
Brady & Hamilton Womack McClish
805 East 32nd Street, Suite 200
Austin, Texas 78705


                                                   _____________
                                            Fredrick “Fritz” Quast




Defendant’s Original Answer                                                            Page 4
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                         Automated Certificate of eService
This automated certificate of service was created by the efiling system.
The filer served this document via email generated by the efiling system
on the date and to the persons listed below. The rules governing
certificates of service have not changed. Filers must still provide a
certificate of service that complies with all applicable rules.

Fredrick Quast on behalf of Fredrick Quast
Bar No. 24032974
fquast@toase.com
Envelope ID: 58698760
Status as of 11/1/2021 9:36 AM CST

Associated Case Party: CorrieLea M.Fey

Name            BarNumber    Email                     TimestampSubmitted   Status

John McClish                 john@bhlawgroup.com 10/31/2021 7:09:30 PM SENT



Associated Case Party: The City of New Braunfels, Texas

Name                     BarNumber Email                     TimestampSubmitted      Status

Lindsey Hale                         lhale@toase.com         10/31/2021 7:09:30 PM SENT

Rebecca Meek                         rmeek@toase.com         10/31/2021 7:09:30 PM SENT

William M. McKamie                   mmckamie@toase.com      10/31/2021 7:09:30 PM SENT

Fredrick "Fritz" Quast               fquast@toase.com        10/31/2021 7:09:30 PM SENT
